                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

TERRY LYNN KING
                                       )
         Plaintiff,                    )    Capital Case
v.                                     )    No. 3:18-cv-01234
                                       )    Judge Campbell
TONY PARKER, et al.,                   )
                                       )
         Defendants.                   )

               AMENDED COMPLAINT FOR INJUNCTIVE RELIEF




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              AMENDED COMPLAINT FOR INJUNCTIVE RELIEF

        Plaintiff Terry Lynn King, by and through counsel, files this Amended

Complaint for Injunctive Relief challenging Tennessee’s July 5, 2018 Execution

Protocol and Procedures under the Ex Post Facto Clause, Article I, Section 10 of the

United States Constitution, the First, Eighth and Fourteenth Amendments to the

United States Constitution, and 42 U.S.C. § 1983. King challenges Tennessee’s July

5, 2018 Protocol (“July 5th Protocol”) on its face and as applied. This cause of action

arises from the July 5, 2018 protocol, facts from the executions of Billy Ray Irick

and Edmund Zagorski, the Ex Post Facto Clause, and Eighth Amendment challenge

to Tennessee’s Electrocution Protocol, as well as new facts regarding alternative

execution methods.

                       INCORPORATION OF ALLEGATIONS

        All allegations in this Amended Complaint are incorporated in all sections as

if fully set forth therein.

                                      PARTIES

        1.    Plaintiff Terry Lynn King is a Tennessee death row inmate who

committed a capital offense and was sentenced to death prior to January 1, 1999.

        2.    Plaintiff King is a United States citizen. He is a death-sentenced

prisoner residing in this District at Riverbend Maximum Security Institution,

Nashville, Davidson County, Tennessee, and in the custody of the Tennessee

Department of Correction.

        3.    Plaintiff King was sentenced to death by electrocution on February 6,

1985.

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      4.     Defendant Tony Parker is the Commissioner of the Tennessee

Department of Correction, the state agency located in Nashville, Tennessee, that

adopted and will implement the July 5th Protocol challenged in this Amended

Complaint. Plaintiff King sues Commissioner Parker in his official capacity.

Defendant Parker will oversee the administration of King’s execution at Riverbend

Maximum Security Institution (hereinafter, “RMSI”). Defendant Parker is a state

actor acting under color of state law, and his actions in seeking to execute and/or

executing King under the Lethal Injection Protocol, as described herein, violate

King’s constitutional and statutory rights, described herein.

      5.     Defendant Tony Mays is the Warden of RMSI in Nashville, Tennessee,

at which King is held in custody under sentence of death and where King’s

execution will occur. Plaintiff King sues Warden Mays in his official capacity.

Defendant Mays is directly in charge of executing King at RMSI. Defendant Mays is

a state actor acting under color of state law, and his actions in seeking to execute

and/or executing King under the July 5th Protocol, as described herein, violate

King’s constitutional and statutory rights, as described herein.

                           JURISDICTION AND VENUE

      6.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331 (federal

question), § 1343 (civil rights), § 2201 (declaratory relief), and § 2202 (further

relief). This action arises under Article I, Section 10 of the United States

Constitution and the First, Eighth, and Fourteenth Amendments to the United

States Constitution and 42 U.S.C. § 1983.



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      7.     Defendants are responsible for executing Plaintiff at RMSI in

Nashville, Tennessee, where this Court is located.

      8.     As to exhaustion of administrative remedies, Defendants have denied

any and all administrative remedies for challenges to the Electrocution Protocol and

have failed to respond to a grievance regarding the midazolam-based three-drug

lethal injection protocol.

      9.     Plaintiff does not concede a need to exhaust or engage in further or

additional administrative remedies because any administrative process is futile.

      10.    On May 7, 2007, a grievance was filed against Tennessee’s

Electrocution Protocol. The grievance was denied.

      11.    Immediately upon receiving notice that Tennessee had adopted (on

January 8, 2018) a new lethal injection protocol that included a midazolam-based

three-drug method of lethal injection, designated as Protocol B, a grievance was

filed that objected to the use of Protocol B for executions.

      12.    The grievance was never acted upon.

      13.    The grievance process is, therefore, futile.

      14.    Thereafter, two groups of Tennessee inmates (but not Plaintiff King)

filed suit in the Chancery Court for Davidson County, Tennessee, asking the Court

to, inter alia, declare Protocol B unconstitutional in violation of the Eighth and

Fourteenth Amendments of the Constitution of the United States. Defendants

continued to engage in that conduct against which the inmates sought

administrative relief.



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      15.    Notwithstanding the pending grievances and the pendency of the state

Chancery Court proceedings, Defendants adopted a new lethal injection protocol on

July 5, 2018 (the “July 5th Protocol”) which is the subject of this action.

      16.    The July 5th Protocol removes Protocol A, the option to use an

injection of a single drug, pentobarbital, to carry out Tennessee executions.

      17.    The July 5th Protocol calls for Defendants to engage in conduct against

which the inmates had sought administrative relief, i.e., to use a midazolam-based

three-drug lethal injection method of execution. It also added provisions allowing

the use of compounded drugs, and removed other provisions which had formerly

benefitted Plaintiff King.

      18.    On August 9, 2018, Defendants engaged in that conduct against which

the inmates sought administrative relief: they executed Billy Ray Irick using a

midazolam-based three-drug lethal injection method of execution required by the

July 5th Protocol.

      19.    On November 1, 2018, Defendants engaged in that conduct against

which the inmates sought administrative relief: they executed Edmund Zagorski

using Tennessee’s electric chair.

                     GENERAL FACTS AND ALLEGATIONS

      20.    If the Commissioner of Correction (currently Defendant Parker)

certifies to the Governor that a drug essential to carrying out a lethal injection is

unavailable through no fault of the department then the method of carrying out a

death sentence is electrocution. Tenn. Code Ann. § 40-23-114(e)(2) (2000).



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      21.    If lethal injection is held to be unconstitutional then the method of

carrying out a death sentence is electrocution. Tenn. Code Ann. § 40-23-114(e)(1).

      22.    If lethal injection or electrocution is held to be unconstitutional,

Tennessee law provides for execution “by any valid method of execution.” Tenn.

Code Ann. § 40-23-114(d).

      23.    At the time of Plaintiff’s crimes, trials, convictions and sentencings, the

sole punishment to which he was exposed was death by electrocution. Tenn. Code

Ann. § 40-23-114 (1982). To Plaintiff’s knowledge, Tennessee’s current execution

protocol for electrocution is dated March 13, 2017. (Attachment 1, Electrocution

Procedures 3/13/17).

      24.    At Plaintiff King’s trial on February 6, 1985, the prosecutor argued

King should be sentenced to death by electrocution. (Doc.48-2, p. 3).

      25.    On February 6, 1985, the jury foreman announced King’s sentence:

“The verdict is death by electrocution.” (Doc.48-2, p. 4).

      26.    On February 6, 1985, the trial court sentenced King: “upon the further

verdict of the jury fixing your punishment at death, it is, therefore, ordered that you

shall be put to death by electrocution in the mode prescribed by law, and that you

shall be transferred to the custody of the warden at the State Penitentiary at

Nashville, where on the 1st day of August, 1985, your body shall be subjected to

shock by a sufficient current of electricity until you are dead.” (Doc.48-2, pp. 1, 6).

      27.     On July 28, 1986, the Tennessee Supreme Court entered judgment

affirming King’s convictions and sentence. The court ordered that King “shall be



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taken by the Warden of the State Penitentiary at Nashville, …, and in the death

chamber, as provided by law, the said Warden of the penitentiary shall cause the

body of the Appellant, Terry Lynn King, to be subjected to shock by a sufficient

current of electricity until he is dead[.]” (Doc.48-2, p. 8).

        28.   In 2000, the Tennessee legislature amended its death penalty statute

to require sentences of death imposed under Tennessee law to be carried out by

means of lethal injection. Tenn. Code Ann. § 40-23-114(a). Any person who

committed an offense prior to January 1, 1999, for which the person is sentenced to

the punishment of death may elect to be executed by electrocution by signing a

written waiver waiving the right to be executed by lethal injection. Tenn. Code Ann.

§ 40-23-114(b).

        29.   The new statute cannot afford Plaintiff King an “election” or “choice” of

death by electrocution because, according to the sentence imposed on King,

electrocution is the method which must be utilized for his execution.

        30.   Tennessee’s first lethal injection protocol utilized three drugs: sodium

thiopental, pancuronium bromide, and sodium chloride. Under that protocol “it was

undisputed that the injection of Pavulon [a paralytic] and potassium chloride would

alone cause extreme pain and suffering.” Abdur’Rahman v. Bredesen, 181 S.W.3d

292, 307 (Tenn. 2005).1




1In that case, “all of the medical experts … agreed that a dosage of five grams of
sodium Pentothal … causes nearly immediate unconsciousness … and an inmate
would be unconscious in about five seconds … and would feel no pain prior to dying.”
181 S.W.3d at 307-08.
                                             6

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         31.   On September 12, 2007, Tennessee executed Daryl Holton under its

Electrocution Protocol.

         32.   On September 19, 2007, the United States District Court for the

Middle District of Tennessee held on the evidence before it that Tennessee’s original

three-drug (sodium thiopental) protocol was unconstitutional because it “presents a

substantial risk of unnecessary pain; that risk was know[n] to Commissioner Little,

and yet disregarded.” Harbison v. Little, 511 F. Supp. 2d 872, 903 (M.D. Tenn.

2007).

         33.   On November 22, 2010, the Chancery Court of Davidson County,

Tennessee held that Tennessee’s original three-drug (sodium thiopental) protocol

violates the Eighth Amendment’s prohibition of cruel and unusual punishment

because the evidence proved that “the protocol allows suffocation – death by

suffocation while the prisoner is conscious.” West v. Ray, No. 10-1675, Order

Granting Declaratory Judgment p. 10 (Tenn. Chancery Ct. Nov. 22, 2010).

(Attachment 2, Chancery Court Declaratory Judgment Order 11/22/10).

         34.   It was in part because Tennessee officials had actual knowledge of the

substantial risk of pain and suffering in relation to Tennessee’s original three-drug

(sodium thiopental) execution method that they made the decision to renounce any

further use of a three-drug lethal injection protocol.

         35.   In 2013, Tennessee officials adopted a different lethal injection

protocol: an injection of a single drug, 5 grams of pentobarbital.




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      36.    In March 2017, the Tennessee Supreme Court found the one-drug

protocol, “if administered properly, will likely cause death with minimal pain and a

quick loss of consciousness.” West v. Schofield, 519 S.W.3d 550, 562 (Tenn. 2017).

      37.    On January 8, 2018, Tennessee officials adopted a new lethal injection

protocol (“January 8th Protocol”). (Attachment 3, Lethal Injection Protocol 1/8/18).

It called for lethal injections to be carried out in one of two ways.

      38.    The first option in the January 8th Protocol, designated as Protocol A,

was materially identical to Tennessee’s one-drug pentobarbital-based protocol found

to “likely cause death with minimal pain and a quick loss of consciousness” in the

2017 West decision.

      39.    The second option in the January 8th Protocol, designated as Protocol

B, called for the sequential injection of three-drugs: midazolam, vecuronium

bromide and potassium chloride.

      40.    On February 20, 2018, other Tennessee death row inmates (not

Plaintiff King) filed a complaint for declaratory judgment in the Chancery Court for

Davidson County, Tennessee. The Chancery Court plaintiffs (“Chancery Court

Plaintiffs”) alleged that, on its face, Protocol B in the January 8th Protocol creates a

constitutionally-unacceptable risk of unnecessary pain and suffering, and, on its

face, the January 8th Protocol contained a method of execution which had already

been determined to cause death “with minimal pain and a quick loss of

consciousness,” i.e., Protocol A.




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         41.   The Chancery Court Plaintiffs amended their complaint twice, on April

13, 2018 and June 28, 2018. The amendments maintained that, the January 8th

Protocol—on its face—contained a substantial risk of unnecessary and severe pain

in the form of Protocol B, and that Protocol A constitutes a feasible and readily

implemented alternative method of execution that significantly reduces the risk of

harm posed by Protocol B.

         42.   The Chancery Court Plaintiffs sought discovery on the availability of

pentobarbital for use in Protocol A. Plaintiffs were denied an opportunity to

discover information from state actors and/or agents with personal knowledge of the

issue.

         43.   The Defendants maintained up to the eve of trial in the Chancery

Court that they may obtain pentobarbital for the execution scheduled in August

2018.

         44.   On July 5, 2018, four days before trial in the Chancery Court,

Defendants adopted a new execution protocol (“July 5th Protocol” or “current

protocol”) which retained the three-drug midazolam-based protocol (former Protocol

B) and removed Protocol A (the one-drug pentobarbital protocol). (Attachment 4,

Lethal Injection Protocol 7/5/18).

         45.   Defendants’ adoption of the July 5th Protocol substantial changed the

nature of the Chancery Court Plaintiffs’ facial challenge to the January 8th

Protocol.




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      46.    The only method of lethal injection available on the face of Tennessee’s

current protocol (the July 5th Protocol) is the three-drug midazolam-based protocol.

      47.    In addition to removing the first option in the January 8th Protocol,

Protocol A (the one-drug pentobarbital method that plaintiffs pled and sought to

prove as an alternative to Protocol B), the new July 5th Protocol expressly provides

that all drugs utilized in the three-drug midazolam-based protocol may be either

manufactured or compounded.

      48.    The July 5th Protocol does not provide an inmate with notice regarding

the type(s) of drugs—manufactured or compounded—which will be used for his

execution.

      49.    Upon information and belief, Defendants will not have manufactured

midazolam in their possession which is unexpired.

      50.    Upon information and belief, Defendants will not have compounded

midazolam in their possession which is unexpired.

      51.    Upon information and belief, Defendants will not have manufactured

vecuronium bromide in their possession which is unexpired.

      52.    Upon information and belief, Defendants will not have compounded

vecuronium bromide in their possession which is unexpired.

      53.    Upon information and belief, Defendants will not have manufactured

potassium chloride in their possession which is unexpired.

      54.    Upon information and belief, Defendants will not have compounded

potassium chloride in their possession which is unexpired.



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        55.   Upon information and belief, all three drugs used to carry out King’s

execution will be compounded.

        56.   No execution under a three-drug midazolam-based lethal injection

protocol has ever been carried out in the United States using all compounded drugs.

        57.   The July 5th Protocol does not contain, on its face, instructions for the

transportation, storage, and administration of compounded drugs.

        58.   Different requirements exist for transportation, storage, and

administration of drugs depending on whether they are manufactured or

compounded. The differences, if not observed, can easily affect the efficacy of the

drug(s). (Attachment 5, Dr. Sasich declaration, ¶¶ 5-8).

        59.   On July 26, 2018, the Chancery Court issued an order after a hearing

on the midazolam-based three-drug protocol. (Attachment 7, Chancery Court Order

Dismissing Suit).

        60.   The Chancery Court’s order denying relief explicitly credited the

testimony of the Chancery Court Plaintiffs’ expert witnesses, who were found to be

well-qualified, eminent experts.

        61.   The court further found: (a) midazolam does not elicit strong analgesic

effects;2 (b) the inmate being executed may be able to feel pain from the




2 The Defendants’ expert testified that midazolam does not have pain-killing
properties. (Attachment 8, pp. 2148-54, Dr. Evans testimony). Because midazolam
cannot render a person insensate to the pain caused by vecuronium bromide or
potassium chloride, Tennessee’s drug supplier suggested Defendants “use … an
alternative [drug],” such as a barbiturate, or include an opioid (a pain-killer) in the
protocol. (Attachment 9, p. 1628, Email from Drug Supplier).
                                           11

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administration of the second and third drugs; (c) during midazolam executions in

other states there were signs such as grimaces, clenched fists, furrowed brows, and

moans indicative that the inmates were feeling pain after the midazolam had been

injected; and, (d) after an average of almost 14 minutes and as long as 18 minutes,

inmates will be declared dead under Tennessee’s execution protocol.

        62.   On appeal, the Tennessee Supreme Court did not disturb the Chancery

Court’s crediting of the expert testimony or the above-mentioned factual findings.

Abdur’Rahman v. Parker, 558 S.W.3d 606, 610 (Tenn. 2018).

        63.   On August 9, 2018, Defendants executed Billy Ray Irick using a three-

drug midazolam-based protocol. The execution of Irick lasted twenty minutes.

(Attachment 10, Irick Execution Timeline).

        64.   Witnesses to Irick’s execution immediately reported reactions by Irick

during the execution procedure which are consistent with pain and suffering.

(Attachment 11, News Articles). See also Attachment 12, Dr. Lubarsky Affidavit.

        65.   On November 1, 2018, Defendants executed Edmund Zagorski using

Tennessee’s Electrocution Protocol.

        66.   Defendants intend to execute Plaintiff King under Tennessee’s July 5,

2018 three-drug midazolam-based lethal injection protocol.3



3 This allegation is based on Plaintiff King’s current knowledge. The State of
Tennessee and Defendants have changed execution protocols in the midst of previous
method-of-execution litigation. During the 2018 Chancery Court litigation that arose
from the adoption of the January 8, 2018 Protocol, for example, the Chancery Court
Plaintiffs learned in June 2018 of Defendants’ decision in March 2018 to implement
an unwritten protocol using compounded midazolam, vecuronium bromide and
potassium chloride. The January 8th Protocol, on its face, only provided for the use
                                          12

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      67.    On January 14, 2019, the United States District Court for the

Southern District of Ohio entered an order in In re Ohio Execution Protocol, Case

No. 2:11-cv-1016 denying preliminary injunctive relief to William K. Henness.

      68.    The subject matter of that order was Ohio’s three-drug midazolam-

based lethal injection protocol.

      69.    Ohio’s three-drug midazolam-based lethal injection protocol is

materially identical to Tennessee’s July 5, 2018 protocol.

      70.    In In re Ohio Execution Protocol, Mr. Henness alleged facts regarding

the pain and suffering caused by the three-drug midazolam-based lethal injection

protocol similar to those alleged by the plaintiffs in Abdur’Rahman and similar to

those alleged by King here.

      71.    The defendants in In re Ohio Execution Protocol share the same

interests as Defendants.

      72.    The defendants in In re Ohio Execution Protocol adequately and

properly defended those interests.

      73.    The evidence regarding the pain and suffering created by Tennessee’s

July 5th Protocol presented by King will not be materially different than the

evidence presented in In re Ohio Execution Protocol and/or Abdur’Rahman.




of compounded pentobarbital under the Protocol A option. On July 5, 2018,
Defendants again changed the protocol by removing the one-drug pentobarbital
option (Protocol A), and by expressly providing for the use of three drugs: either
manufactured or compounded midazolam, vecuronium bromide and potassium
chloride.
                                         13

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      74.    In In re Ohio Execution Protocol, the court made specific findings that

show how the three-drug midazolam-based lethal injection protocol violates the first

prong of the Glossip test.

      75.    In In re Ohio Execution Protocol, the court found, as to the credibility

of eyewitness accounts of midazolam executions by defense counsel:

            On balance, the accounts given are sufficiently consistent with
      one another and with prior lay descriptions of midazolam-initiated
      executions to be accepted as factual, yet different enough to belie any
      sense of repetition from one to the other. And they are likely the best
      accounts the courts can expect, since witnesses are not allowed to make
      a video record or even audio record their observations as they occur.
      While there may be some confirmation bias, it did not obviously affect
      the observation testimony.
                                         …

            All things considered, however, this Court has not found attorney
      eyewitness testimony to be biased. Both in the December 2018 hearing
      and in prior hearings, witnessing counsel have delivered their testimony
      in completely descriptive tones without characterizations or emotional
      appeals. And because Ohio and other States narrowly limit who may
      witness an execution, these attorney witnesses are in some cases the
      only eyewitnesses available.

Order, January 14, 2019, In re Ohio Execution Protocol, Case No. 2:11-cv-1016, Doc.

2133, pp. 26-27 (footnotes omitted).

      76.    All of Henness’ experts, save one, were also accepted as credible and

relied upon by the Chancery Court in Abdur’Rahman in finding Tennessee’s July

5th Protocol created a risk of pain.

      77.    After extensively setting out the testimony of all experts presented, the

Henness court found:

            The quality of the evidence presented on the first prong of the
      Glossip standard has increased dramatically since the January 2017

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    hearing for former Plaintiffs Phillips, Otte, and Tibbetts. The evidence,
    both designated from prior hearings and newly introduced, now
    establishes several factual propositions material to the first prong of
    Glossip.

           First of all, the Court finds that midazolam at any dosage level
    has no analgesic properties. Dr. Stevens testified in the January 2017
    hearing that midazolam is not an analgesic drug (Hrg. Tr., ECF No. 923,
    PageID 30746), and he has not wavered from his opinion or his
    explanation of why he holds this opinion, which is based in the
    neuropharmacology of benzodiazapenes. Dr. Antognini has also not
    wavered from his contrary position (see, e.g., ECF No. 1983, PageID
    88447), but his opinion is now shown to be an outlier in the field of
    anesthesiology by the testimony of Doctors Greenblatt, Exline,
    Lubarsky, and Stevens. Although the Court declined to exclude Dr.
    Antognini as an expert witness under Fed.R.Evid. 702, that does not
    imply his opinion is entitled to as much weight as those of the many
    opinions which oppose it. Particularly persuasive is the opinion of Dr.
    Greenblatt, who was there at the “birth” of midazolam as an
    FDAapproved drug (Hrg. Tr., ECF No. 2113, PageID 104172-73), has
    continued to study it intensively, and has persuaded many others to rely
    on his studies.

           Because midazolam has no analgesic properties, it cannot prevent
    the pain incident to the second and third drugs from reaching the brain
    of the condemned inmate, based on the GABA receptor mechanism Drs.
    Stevens, Lubarsky, Exline, and Greenblatt all identified and which is
    unrebutted. This Court has already found that injection of the second
    and third drugs into a fully conscious person would surely or very likely
    cause severe pain and needless suffering to the person being executed
    and the Sixth Circuit accepted that finding. Fears v. Morgan, 860 F.3d
    at 886. That being so, the State must do something first to prevent the
    inmate from suffering that severe pain.

           Second, the Court finds that midazolam at the 500 mg dose used
    by Ohio as an initiatory drug is certain or very likely to cause pulmonary
    edema. Dr. Edgar examined twenty-eight autopsy reports from persons
    executed with midazolam and confirmed the presence of pulmonary
    edema in twenty-four of them. Twenty-eight appears to be the entire
    number of such autopsy reports that were available to be examined.
    When more than eighty-five percent of the entire possible sample has a
    confirmed diagnosis, it is good science to infer that midazolam caused it,
    since they all were executed with midazolam. The Court further finds



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      credible Dr. Edgar’s explanation as to how he came to the conclusion
      that the pulmonary edema was caused by the midazolam.

             The fact that overdoses of other drugs, including barbiturates,
      will also cause pulmonary edema, as Dr. Davis testified (Hrg. Tr., ECF
      No. 2120, PageID 104931), does not undermine this finding because
      other drugs cannot have caused pulmonary edema in executed inmates
      when they were not injected with those other drugs; it has to have been
      the midazolam. The Court finds Dr. Edgar’s explanation of Eighty-five
      percent is enough for the Court to conclude that midazolam is “sure or
      very likely” to cause pulmonary edema.

              Third, the Court finds that pulmonary edema itself certainly or
      very likely causes severe pain and needless suffering. In all the hearings
      in this case, the Court has heard lay descriptions of labored breathing of
      various sorts by condemned inmates after injection of midazolam,
      commonly referred to as air hunger. Dr. Edgar has now provided a
      medical explanation of air hunger: it comes from pulmonary edema,
      which means the airways in the lungs are filling up with fluid instead
      of air. All medical witnesses to describe pulmonary edema agreed it was
      painful, both physically and emotionally, inducing a sense of drowning
      and the attendant panic and terror, much as would occur with the
      torture tactic known as waterboarding.

            In sum, Plaintiff has established that midazolam cannot prevent
      the physical pain known to be caused by injection of the paralytic and
      the potassium chloride. Moreover, midazolam itself is certainly or very
      likely causes pulmonary edema, which is both physically and
      emotionally painful to a severe level.
                                             …

             Based on the evidence presented here, both at the December
      hearing and as designated from prior hearings, the Court finds as a
      matter of fact that it is certain or very likely that a 500 mg IV-injected
      dose of midazolam cannot reduce consciousness to the level at which a
      condemned inmate will not experience the severe pain associated with
      injection of the paralytic drug or potassium chloride or the severe pain
      and needless suffering that is certain or very likely to be caused by the
      pulmonary edema which is very likely to be caused directly by the
      midazolam. This finding of fact is independent of the hypothesis that it
      is the acidic state of injected midazolam that causes pulmonary edema.

Id. at 129-34 (footnotes omitted).



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                                Count One
Death by lethal injection as required by Tennessee’s July 5, 2018 Protocol
violates the Ex Post Facto Clause of the United States Constitution, Article
                                   I, § 10.

       78.    On February 6, 1985, the jury issued a verdict of death by electrocution

and the trial court sentenced King: “upon the further verdict of the jury fixing your

punishment at death, it is, therefore, ordered that you shall be put to death by

electrocution in the mode prescribed by law, and that you shall be transferred to the

custody of the warden at the State Penitentiary at Nashville, where on the 1st day

of August, 1985, your body shall be subjected to shock by a sufficient current of

electricity until you are dead.” (Doc.48-2, pp. 1, 4, 6).

       79.    Execution by lethal injection as required under the July 5th Protocol

constitutes harsher punishment than execution by electrocution, the punishment to

be inflicted upon Plaintiff King at the time of the crimes.

       80.    The Chancery Court’s factual findings and credibility determinations

establish that the midazolam-based three-drug lethal injection protocol produces

severe pain before resulting in death after an average of 14 minutes and for as long

as 18 minutes. (Attachment 7, pp. 25-26).

       81.    The factual findings and credibility determinations made by the

District Court for the Southern District of Ohio in its January 14, 2019 Order,

establish that the midazolam-based three-drug lethal injection protocol produces

severe pain and suffering. In re Ohio Execution Protocol, No. 2:11-cv-1016, 2019 WL

244488 (S.D. Ohio Jan. 14, 2019).




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      82.    Billy Ray Irick was executed using the July 5th Protocol and his

execution lasted 20 minutes. (Attachment 7, p. 2).

      83.    Tennessee’s Electrocution Protocol contemplates an execution lasting

no longer than six minutes. (Attachment 1, p. 42).

      84.    Execution under the July 5th Protocol increases the punishment to be

inflicted upon Plaintiff King compared to punishment under Tennessee’s

Electrocution Protocol.

 I.   Punishment under Tennessee’s midazolam-based three-drug
      protocol.

      85.    The observations of witnesses to the only execution carried out under

Tennessee’s July 5th Protocol, the execution of Billy Ray Irick, are consistent with

the expert and lay witness testimony found credible by the Chancery Court.

      86.    An inconsistency between the facts presented and found by the

Chancery Court and the implementation of Tennessee’s midazolam-based three-

drug protocol is the length of Irick’s execution, which exceeded the length of time

considered by the state court.

      87.    Under the July 5th Protocol, the first injection is of 100 ml of a 5mg/ml

solution (a total of 500 mg) of midazolam. (Attachment 4, pp. 39, 44-45, 66).

      88.    Midazolam can induce sedation, i.e., deep sleep. Midazolam has no

pain-killing properties. Unless a pain-killing drug is also administered, a noxious

(or painful) stimulus will rouse persons sedated with midazolam. (Attachment 13,

pp. 1780-81, Dr. Lubarsky Testimony).




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       89.    Midazolam is acidic and damages lung tissue. After one circulation of

midazolam, fluid begins to accumulate in the inmate’s lungs making breathing more

difficult. (Attachment 14, Dr. Edgar Testimony).

       90.    After midazolam was administered to Billy Ray Irick (Attachment 10,

p. 4), witnesses to the execution observed his stomach pulsate up and down, his

breathing become labored, he was gulping and puffing, and he emitted a snore-like

sound. (Attachment 11).

       91.    If the July 5th Protocol is carried out in the same manner as the Irick

execution, five minutes after the injection of midazolam begins, Defendant Mays

will approach the inmate, brush his eyelashes, loudly call his name two times, and

shake his shoulder. (Attachment 10, p. 4) (indicating the time the so-called

“consciousness check” or “assessment of consciousness” was conducted). This

practice is a deviation from the written protocol which requires a trapezius squeeze,

not a shake of the inmate’s shoulder. (Attachment 4, p. 66).

       92.    After conducting the “assessment of consciousness,” Defendant Mays

will order the administration of the second drug: 100 ml of a 1 mg/ml solution (a

total of 100 mg) of vecuronium bromide. (Attachment 4, pp. 39, 44-45, 66).

Vecuronium bromide is a paralytic.

       93.    Throughout the preceding five minutes, fluid continues to accumulate

in the inmate’s lungs, causing labored breathing. Plaintiff King will feel his lungs

filling with fluid.




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      94.    Before the vecuronium bromide fully paralyzes the inmate, there is a

substantial risk that enough fluid will accumulate in the lungs so that the inmate

will attempt to expel it by coughing and hacking.

      95.    Before the vecuronium bromide fully paralyzes the inmate, there is a

substantial risk he will react to the pain and terror caused by the vecuronium

bromide. Experts credited by the Chancery Court described the experience like

being buried alive. (Attachment 14, pp. 1394-95).

      96.    After (but not in response to) the Warden’s “consciousness check,” Billy

Ray Irick’s body jolted, he gasped for air, he hacked and coughed, his face turned

deep purple and he moved his head. (Attachment 11).

      97.    Under the July 5th Protocol, after the vecuronium bromide paralyzes

the inmate, he will become motionless.

      98.    The administration of vecuronium bromide to Irick began six minutes

into the execution and took three minutes to complete. (Attachment 10, pp. 2, 4).

      99.    After the time that vecuronium bromide was administered to Irick,

witnesses observed that eventually he became motionless. (Attachment 10, p. 4).

      100.   Under the protocol, though motionless, there is a substantial risk that

the inmate is sensate and aware. Inmates will be aware and experience terror from

the onset of involuntary paralysis and the ongoing suffocation caused by the use of

vecuronium bromide until their deaths.

      101.   The third drug administration under the protocol is 120 ml of a 2

mEq/ml solution (a total of 240 mEq) of potassium chloride. The purpose of



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potassium chloride is to induce cardiac arrest and permanently stop the inmate’s

heart.

         102.   Experts credited by the Chancery Court testified that a rapid

intravenous administration of a large dose of potassium chloride causes

excruciating pain, described as “liquid fire” and “being burned alive from the

inside.” (Attachment 13, pp. 1776-77).

         103.   It took three minutes to complete the administration of potassium

chloride during Irick’s execution. (Attachment 10, p. 4).

         104.   Under the protocol, there is a substantial risk that the inmate is

sensate and aware of the severe pain caused by potassium chloride as it passes

through his circulatory system and ignites nerve cells throughout the body.

         105.   During the execution of Billy Ray Irick, eight minutes elapsed after the

administration of potassium chloride and until he was pronounced dead.

(Attachment 10, pp. 2, 4).

         106.   The Chancery Court found that inmates may be aware of the pain

caused by the second and third drugs in Tennessee’s midazolam-based three-drug

protocol. (Attachment 7, pp. 23, 28).

         107.   The Chancery Court found that the average time of midazolam-based

lethal injections conducted in other states was about 14 minutes, and the longest

execution was 18 minutes. (Attachment 7, pp. 25-26).

         108.   The execution of Billy Ray Irick lasted 20 minutes. (Attachment 10).




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II.    Punishment under Tennessee’s electrocution protocol.

       109.   On February 6, 1985, the jury issued a verdict of death by electrocution

and the trial court sentenced King: “upon the further verdict of the jury fixing your

punishment at death, it is, therefore, ordered that you shall be put to death by

electrocution in the mode prescribed by law, and that you shall be transferred to the

custody of the warden at the State Penitentiary at Nashville, where on the 1st day

of August, 1985, your body shall be subjected to shock by a sufficient current of

electricity until you are dead.” (Doc.48-2, pp. 1, 4, 6).

       110.   The punishment for Plaintiff King under Tennessee law at the time of

the crimes—electrocution—involves a significantly shorter duration of pain and

suffering than lethal injection under the July 5th Protocol.

       111.   When the electrocution protocol is properly administered, the electrical

console will deliver 1,750 volts at 7 amps to the electric chair in a 20 second time

cycle, disengage for 15 seconds, and re-engage for 15 seconds. (Attachment 1, p. 42).

       112.   After a five-minute waiting period a physician will examine the inmate

to determine whether he is dead. (Attachment 1, p. 42).

       113.   The duration of pain and suffering created by electrocution is

substantially less than the pain and suffering created by the July 5th Protocol,

therefore, the July 5th Protocol violates Art. 1, § 10 of the United States

Constitution.

       114.   Defendants should be preliminarily and then permanently enjoined

from carrying out Plaintiff’s execution under a midazolam-based, three-drug

protocol, the July 5th Protocol. (Attachment 4).
                                            22

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                                     Count Two
          Tennessee’s Electrocution Protocol constitutes cruel and unusual
         punishment in violation of the Eighth and Fourteenth Amendments.

           115.   On February 6, 1985, the jury issued a verdict of death by

electrocution and the trial court sentenced King: “upon the further verdict of the

jury fixing your punishment at death, it is, therefore, ordered that you shall be put

to death by electrocution in the mode prescribed by law, and that you shall be

transferred to the custody of the warden at the State Penitentiary at Nashville,

where on the 1st day of August, 1985, your body shall be subjected to shock by a

sufficient current of electricity until you are dead.” (Doc.48-2, pp. 1, 4, 6).

           116.   Execution by electrocution violates the Eighth and Fourteenth

Amendments because it creates a constitutionally-unacceptable risk of unnecessary

and serious pain and suffering and mutilation.

    I.     Feasible and readily implemented alternative methods of execution
           exist that significantly reduce the substantial risk of severe pain and
           suffering under Tennessee’s Electrocution Protocol.

           117.   There exists one or more feasible and readily-available alternative

methods of execution which substantially reduce the constitutionally-unacceptable

risk of inflicting unnecessary and serious pain and mutilation created by the use of

electrocution to carry out Plaintiff King’s execution.4

           118.   Such alternatives include: (a) execution by means of a single bullet to

the head; (b) execution by means of firing squad; (c) execution by means of the oral

administration of midazolam, digoxin, morphine sulfate, and propranolol; (d)


4In naming these alternatives, Plaintiff King does not waive any potential claims
that their rights could be violated by maladministration of the alternatives.
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execution by means of the one-drug pentobarbital-based lethal injection protocol

currently being carried out by the states of Texas, South Dakota and Georgia.

             A.      A single bullet to the back of the head

      119.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the firearms necessary to carry out an execution by

a single bullet to the head as alleged in this Alternative.

      120.      Upon information and belief, Defendants possess or have within

their control, or could readily obtain, the ammunition necessary to carry out an

execution by a single bullet to the head as alleged in this Alternative.

      121.      Upon information and belief, Defendants employ or have within their

control, or could readily obtain, the personnel necessary to carry out an execution

by a single bullet to the head as alleged in this Alternative.

      122.      Upon information and belief, Defendants employ or have within their

control, or could readily obtain, persons who regularly train with firearms at the

Big Buck Shooting Range located at RMSI.

      123.      Upon information and belief, Defendants employ or have within

their control, or could readily obtain, trained professional marksmen to carry out

he execution.

      124.      The use of trained and experienced professionals and the

contemplated protocol, which involves the use of a single bullet to the back of the

head in close range, could reduce any error rate in firing-squad executions.

      125.      Although Tennessee has not yet developed protocols for carrying out



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an execution by a single bullet to the back of the head, model procedures are

readily available and implementable. Taiwan’s execution protocol is instructive.

Taiwan follows a simple procedure: executions are carried out by shooting a

handgun or assault rifle aimed at the brain stem under the ear. The prisoner lies

face down on a mattress on the floor and is shot from behind at close range. Since

2010, Taiwan has carried out 34 executions by shooting and has had no known

incidences of the execution going awry. “Death Penalty Database: Taiwan,” Death

Penalty Worldwide.

      126.    Upon information and belief, this manner and method of execution is

feasible and readily implemented under Tenn. Code Ann. § 40-23-114(d) because it

constitutes “any constitutional method of execution.”

      127.    Upon information and belief, this manner and method of execution is

feasible and readily implemented because the Big Buck Shooting Range is located

on the grounds of RMSI and can easily accommodate what little equipment is

required for an execution by a single bullet. See Attachment 15, § II, ¶ 12(c).

      128.    Upon information and belief, execution by this manner and method

damages the brain stem, shutting down breathing and cardiac activity near

instantly.

      129.    A single bullet to the back of the head significantly reduces a

substantial risk of unnecessary and severe pain when compared with electrocution.

      130.    A single bullet to the back of the head bears striking similarities to

the firing squad, which is widely considered to be relatively painless. A study of



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executions from 1900 to 2010, for example, concluded that while 7.12% of the

1,054 lethal-injection executions and 1.92% of electrocution executions were

“botched,” none of the 34 firing-squad executions went awry. A. Sarat, Gruesome

Spectacles: Botched Executions and America’s Death Penalty, 177 (2014). See also

Wood v. Ryan, 759 F.3d 1076, 1103 (9th Cir. 2014) (the firing squad is “foolproof”;

lethal injection is “inherently flawed and ultimately doomed to failure.”);

(Attachment 16, p. 781, Deborah Denno Article) (A “study of executions from 1976

to 2001 failed to detect any botched firing squad executions, even though other

methods, including lethal injection, were consistently problematic.”) (citing Arif

Khan & Robyn M. Leventhal, Medical Aspects of Capital Punishment Executions,

47 J. Forensic Sci. 847, 849-50 (2002)). “Just as important, there is some reason to

think that [death by firing squad] is relatively quick and painless.” Glossip, 135

S. Ct. at 2796 (Sotomayor, J., dissenting). That contrasts sharply with death by

lethal injection, which, as shown throughout this Amended Complaint, has caused

a number of prolonged and extraordinarily painful executions in recent years.

      131.    Other states—Mississippi, Oklahoma, and Utah—include execution

by firing squad among their statutory manners of execution. See Miss. Code Ann. §

99- 19-51; Okla. Stat. Ann. tit. 22 § 1014; Utah Code Ann. § 77-18-5.5.

       132.   Utah recently executed Ronnie Lee Gardner by firing squad.

 Wilkerson v. Utah, 99 U.S. at 134-35. See Kirk Johnson, Double Murderer

 Executed by Firing Squad in Utah, N.Y. Times, June 19, 2010, available at

 https://www.nytimes.com/2010/06/19/us/19death.html.



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      133.    The firing squad is used around the world as a method of

execution. Approximately 28 countries conduct firing-squad executions. See

“Methods of Execution,” Cornell Center on the Death Penalty Worldwide (June

22, 2012), available at goo.gl/uauqVF. Of the 58 countries retaining capital

punishment, five times as many use firing squads as use lethal injection. See id.;

see also “Death Sentences and Executions: 2015,” Amnesty Int’l Global Report,

available at goo.gl/phBwa0.

      134.    For more than 400 years, the firing squad has been an available

execution method in the United States. The first recorded firing squad execution

took place in 1608, when the colony of Virginia executed George Kendall for

conspiring with Spain. (Attachment 16, p. 778, Denno Article). After the Supreme

Court reinstated the death penalty in 1976 following a nine-year hiatus, see

Gregg v. Georgia, 428 U.S. 153 (1976) (joint opinion of Stewart, Powell, and

Stevens, JJ.), the first executed inmate died at the hands of a five-man firing

squad just one year later. Kirk Johnson, In Utah, Execution Evokes Eras Past,

N.Y. Times, June 16, 2010, available at goo.gl/p9D9k3. In all, firing squads have

executed 144 American inmates. (Attachment 16, p. 778, Denno Article). Thus,

the firing squad is clearly a known execution method.

      135.    Judges have noted the feasibility of the firing squad as an execution

method. See, e.g., Wood, 759 F.3d at 1103 (Kozinski, C.J., dissenting from denial of

rehearing en banc) (noting that “large-caliber rifle bullets fired at close range can

inflict massive damage, causing instant death every time. There are people



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employed by the state who can pull the trigger and have the training to aim true.

The weapons and ammunition are bought by the state in massive quantities for

law enforcement purposes, so it would be impossible to interdict the supply.”).

      136.     States have also noted the feasibility of the firing squad as an

execution method. See, e.g., Bucklew v. Precythe oral argument transcript (where

the attorney for the state of Missouri notes, “Now, if there was a petitioner – some

capital petitioners for example, in Ohio have been pleading things like firing squad

and hanging as alternative methods of execution. Where there is a historical

pedigree to it, this Court has previously affirmed that it is a viable method of

execution that is constitutional. . . . It would certainly have been a stronger case [if

the petitioner had requested the firing squad.)”

      137.     This manner and method of execution is feasible and readily

implemented because the firing squad is a “constitutional method of

execution.” Tenn. Code Ann. § 40-23-114(d).

      138.     If required, the State “legislature could, tomorrow, enact a statute

reinstating the firing squad as an alternative method of execution.” In re:

Campbell, 874 F.3d 454, 465 (6th Cir. 2017) (discussing Ohio’s execution

procedures). In the same way that Defendants obtained the lethal injection secrecy

bill from the Tennessee General Assembly via ordinary effort, so too could

Defendants obtain this alternative manner of execution.

      139.     In the event the Court finds Alternative A insufficient to satisfy the

alternative-pleading requirement, another alternative methods of execution


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exists which significantly reduces the substantial risk of pain attendant to

execution by electrocution.

             B.     Firing squad

      140.   The Procedure for Military Executions, Army Regulations No. 633-15

(Apr. 7, 1959) (Attachment 15) provides a feasible and readily implemented

alternative method of execution that significantly reduces the substantial risk of

unnecessary pain and suffering posed by the July 5th Protocol.

      141.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the firearms necessary to carry out an execution by

firing squad as alleged in this Alternative.

      142.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the ammunition necessary to carry out an execution

by firing squad as alleged in this Alternative.

      143.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, the personnel necessary to carry out an execution by

firing squad as alleged in this Alternative.

      144.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, persons who regularly train with firearms at the Big

Buck Shooting Range located at RMSI.

      145.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, trained professional marksmen to carry out the

execution.



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      146.   The use of trained and experienced professionals significantly reduces

any error rate in firing-squad executions.

      147.   The Procedures for Military Executions provide a back-up plan in case

of human error or mistake—the “coup de grace.” (Attachment 15, § II, ¶ 12(c)).

      148.   Upon information and belief, this manner and method of execution is

feasible and readily implemented under Tenn. Code Ann. § 40-23-114(d) because it

constitutes “any constitutional method of execution.”

      149.   The Supreme Court has upheld the firing squad as a method of

execution. Wilkerson v. Utah, 99 U.S. 130, 134-35 (1878).

      150.   Upon information and belief, this manner and method of execution is

feasible and readily implemented because the Big Buck Shooting Range is located

on the grounds of RMSI and can easily accommodate what little equipment is

required for an execution by firing squad. See Attachment 15, § II, ¶ 12(c).

      151.   Upon information and belief, execution by this manner and method

damages the heart and causes a near-immediate drop in blood pressure, including

blood pressure in the brain. This will cause a loss of consciousness rapidly followed

by death.

      152.   Execution by this manner and method would not permit Plaintiff King

to experience any of the unnecessary and severe pain and suffering caused by

execution by electrocution.




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      153.   Eliminating the unnecessary and severe pain and suffering caused by

execution by electrocution will significantly reduce a substantial risk of unnecessary

and severe pain when compared with execution by electrocution .

      154.   A study of executions from 1900 to 2010, for example, concluded that

while 7.12% of the 1,054 lethal-injection executions and 1.92% of electrocution

executions were “botched,” none of the 34 firing-squad executions went awry. A.

Sarat, Gruesome Spectacles: Botched Executions and America’s Death Penalty, 177

(2014). See also Wood v. Ryan, 759 F.3d 1076, 1103 (9th Cir. 2014) (the firing squad

is “foolproof”; lethal injection is “inherently flawed and ultimately doomed to

failure”); (Attachment 16, p. 781, Denno Article) (A “study of executions from 1976

to 2001 failed to detect any botched firing squad executions, even though other

methods, including lethal injection, were consistently problematic.”) (citing Arif

Khan & Robyn M. Leventhal, Medical Aspects of Capital Punishment Executions, 47

J. Forensic Sci. 847, 849-50 (2002)). “Just as important, there is some reason to

think that [death by firing squad] is relatively quick and painless.” Glossip, 135 S.

Ct. at 2796 (Sotomayor, J., dissenting). That contrasts sharply with death by lethal

injection, which, as shown throughout this Amended Complaint, has caused a

number of prolonged and extraordinarily painful executions in recent years.

      155.   Other states—Mississippi, Oklahoma, and Utah—include execution by

firing squad among their statutory manners of execution. See Miss. Code Ann. § 99-

19-51; Okla. Stat. Ann. tit. 22 § 1014; Utah Code Ann. § 77-18-5.5.




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      156.   Utah recently executed Ronnie Lee Gardner by firing squad. Wilkerson

v. Utah, 99 U.S. at 134-35. See Kirk Johnson, Double Murderer Executed by Firing

Squad in Utah, N.Y. Times, June 19, 2010, available at

https://www.nytimes.com/2010/06/19/us/19death.html.

      157.   The firing squad is used around the world as a method of execution.

Approximately 28 countries conduct firing-squad executions. See “Methods of

Execution,” Cornell Center on the Death Penalty Worldwide (June 22, 2012),

available at goo.gl/uauqVF. Of the 58 countries retaining capital punishment, five

times as many use firing squads as use lethal injection. See id.; see also “Death

Sentences and Executions: 2015,” Amnesty Int’l Global Report, available at

goo.gl/phBwa0. The firing squad is provided for in law by 53.76% of countries whose

laws provide for capital punishment. Of the thirty-two countries that carried out

executions between 2013 and 2017, fourteen (44%) used the firing squad. See id.; see

also “Death Sentences and Executions: 2015,” Amnesty Int’l Global Report,

available at goo.gl/phBwa0.

      158.   The firing squad is one of the oldest known methods of execution in the

United States and has been used for more than 400 years and since before the

country’s founding. (Attachment 16, p. 778, Denno Article). Execution by this

manner and method would not cause Plaintiff King to experience the unnecessary

and severe pain and suffering caused by Tennessee’s July 5th Protocol, including:

pulmonary edema from the acidic midazolam injection, suffocation due to paralysis




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from vecuronium bromide, and the internal chemical burn caused by injection of

potassium chloride.

      159.   The first recorded firing squad execution took place in 1608, when the

colony of Virginia executed George Kendall for conspiring with Spain. (Attachment

16, p. 778, Denno Article). After the Supreme Court reinstated the death penalty in

1976 following a nine-year hiatus, see Gregg v. Georgia, 428 U.S. 153 (1976) (joint

opinion of Stewart, Powell, and Stevens, JJ.), the first executed inmate died at the

hands of a five-man firing squad just one year later. Kirk Johnson, In Utah,

Execution Evokes Eras Past, N.Y. Times, June 16, 2010, available at goo.gl/p9D9k3.

In all, firing squads have executed 144 American inmates. (Attachment 16, p. 778,

Denno Article). Thus, the firing squad is clearly a known execution method.

      160.   Judges have noted the feasibility of the firing squad as an execution

method. See, e.g., Wood, 759 F.3d at 1103 (Kozinski, C.J., dissenting from denial of

rehearing en banc) (noting that “large-caliber rifle bullets fired at close range can

inflict massive damage, causing instant death every time. There are people

employed by the state who can pull the trigger and have the training to aim true.

The weapons and ammunition are bought by the state in massive quantities for law

enforcement purposes, so it would be impossible to interdict the supply.”).

      161.   This manner and method of execution is feasible and readily

implemented because the firing squad is a “constitutional method of execution.”

Tenn. Code Ann. § 40-23-114(d).




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      162.   States have also noted the feasibility of the firing squad as an execution

method. See e.g., Bucklew v. Precythe oral argument transcript (where the attorney

for the state of Missouri notes, “Now, if there was a petitioner – some capital

petitioners for example, in Ohio have been pleading things like firing squad and

hanging as alternative methods of execution. Where there is a historical pedigree to

it, this Court has previously affirmed that it is a viable method of execution that is

constitutional. . . . It would certainly have been a stronger case [if the petitioner had

requested the firing squad].”

      163.   If required, the State “legislature could, tomorrow, enact a statute

reinstating the firing squad as an alternative method of execution.” In re Campbell,

874 F.3d 454, 465 (6th Cir. 2017) (discussing Ohio’s execution procedures). In the

same way that Defendants obtained the lethal injection secrecy bill from the

Tennessee General Assembly via ordinary effort, so too could Defendants obtain

this alternative manner of execution.

      164.   In the event the Court finds Alternative A and B insufficient to satisfy

the alternative-pleading requirement, another alternative methods of execution

exists which significantly reduces the substantial risk of pain attendant to

execution by electrocution.

             C.     Euthanasia Oral Cocktail

      165.   Method 1: Oral administration of midazolam, digoxin, morphine

sulfate, and propranolol in sweet liquid such as fruit juice.

      166.   On July 3, 2018, the State of Ohio conceded the existence of another

available method of execution: “Defendants admit that they possess, or have within
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their control, or could obtain with ordinary transactional effort, midazolam, digoxin,

morphine sulfate, and propranolol. … [For] Oral Administration.” In re Ohio

Execution Protocol Litigation, No. 2:11-cv-01016, R.1822, p. 3 (S.D. Ohio July 3,

2018).

         167.   Method 2: Lethal dose (no less than 9000 mg) of secobarbital injected

orally in four ounces of sweet liquid such as fruit juice.

         168.   Either of these methods of execution are an available, feasible

alternative as demonstrated by use as a method by states which have engaged in

euthanasia under Death with Dignity laws.

         169.   Defendants must inject the lethal drugs orally and from bedside.

         170.   Defendants must inject the lethal drugs mixed with a sweet liquid

such as fruit juice, because of a bitter taste that could initiate a gag reflex.

         171.   Execution by this method of lethal injection using a barbiturate or

opiate will cause death while providing analgesic protection against remaining

sensate following oral injection.

         172.   Eliminating the substantial risk of severe pain posed by vecuronium

bromide and potassium chloride, by definition, significantly reduces the substantial

risk of severe pain caused by execution by electrocution.

         173.   As part of Alternative B, Defendants must employ a wedge-shaped

cushion of sufficient height to prevent obstruction, like the one used by the State of

Ohio, to prop the inmate up at an angle during the execution.




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      174.   Using that wedge-shaped cushion, by propping the inmate up at an

angle, will significantly reduce the sure or likely risk the inmate will obstruct after

injection of the drugs by helping to ensure that the soft tissues in the back of the

throat will not collapse into the airway when the inmate loses muscle tension after

injection of the drugs. This prevents obstruction that will likely result from lying

supine.

      175.   Using a wedge-shaped cushion is available and feasible, because

Defendants possess or have within their control, or could obtain with ordinary

effort, a wedge-shaped cushion similar to the one used by the State of Ohio.

      176.   Using oral injection is available and feasible because Defendants

possess or have within their control, or could obtain with ordinary effort, the

medical supplies necessary to inject the lethal drugs orally.

      177.   Drugs used in this method are sold on the open market and are

available for purchase by Defendants.

      178.   This manner and method of execution is an available, feasible

alternative because Defendants possess or have within their control, or can obtain,

a supply of drugs sufficient to carry out King’s execution using this Alternative

method of lethal injection.

      179.   This manner and method of execution is also available because it can

be carried out under Tennessee law with ordinary effort within the Death Chamber

inside RMSI.




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      180.   In the event the Court finds Alternatives A, B and C insufficient to

satisfy the alternative-pleading requirement, another alternative method of

execution exists which significantly reduces the substantial risk of pain caused by

execution by electrocution.

             D.     One-drug pentobarbital

      181.   Defendants shall use the one-drug, pentobarbital-only method, adopted

by Defendants in 2013, and upheld as constitutional by the state courts. This

method requires two five-gram doses of good quality, human grade pentobarbital.

Pentobarbital is lethal at a blood level of 10 – 169 ug/ml.

      182.   A one-drug pentobarbital method significantly reduces the substantial

risk of pain caused by the July 5th Protocol (midazolam-based three-drug protocol)

because it removes the pain-causing drugs (midazolam, vecuronium bromide and

potassium chloride) from Tennessee’s Execution Protocol.

      183.   Eliminating the substantial risk of severe pain posed by vecuronium

bromide and potassium chloride, by definition, significantly reduces the substantial

risk of severe pain caused by execution by electrocution.

      184.   Defendants retained a one-drug pentobarbital method as Protocol A in

the January 2018 Execution Protocol.

      185.   Defendants have claimed they are unable to obtain any pentobarbital

to use for executions. But other states remain able to obtain pentobarbital or

another barbiturate.




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      186.   In 2018, Texas carried-out ten executions using a one-drug

pentobarbital method. (Attachment 17, Exhibit of Texas Executions; Attachment 18,

2018 Executions from Death Penalty Information Center).

      187.   Georgia, in 2018, carried-out two executions using a one-drug

pentobarbital protocol. (Attachment 18).

      188.   On October 29, 2018, South Dakota executed Rodney Berget using a

one-drug pentobarbital protocol. (Attachment 18).

      189.   Defendants have delegated the search for pentobarbital to an employee

of the Tennessee Department of Correction (“drug procurer”).

      190.   Defendants have no personal knowledge of the search or results of the

search for pentobarbital that was conducted by the drug procurer.

      191.   Defendants’ knowledge regarding the search for pentobarbital and the

results of the search for pentobarbital conducted by the drug procurer is based on

what they have been told by another person(s).

      192.   In 2017, the drug procurer conducted a cursory and unnecessarily

narrow search for pentobarbital.

      193.   Upon information and belief, if the drug procurer conducted a good

faith search, or searched with ordinary due diligence, Defendants would obtain a

supply of pentobarbital for executions.

      194.   In 2017, at least ten sources were willing to sell pentobarbital to the

drug procurer. (Attachment 19, p. 1477, Documents from the Drug Procurer;




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Attachment 20, p. 1505, Handwritten Notes of the Drug Procurer (a source says

“they sell us [TN] the compound”)).

         195.   The drug procurer obtained information from one or more sources such

as the cost of pentobarbital per execution, the availability of bulk pricing, the time

pentobarbital will be available and a shipping date. (Attachment 20, pp. 1503,

1506).

         196.   Ten sources contacted by the drug procurer did not have enough

quantity to carry out ten executions (100 grams of pentobarbital), but a lesser

amount was available. (Attachment 19, p. 1477).

         197.   The drug procurer (and/or Defendants) declined to purchase an amount

of pentobarbital that would be sufficient for at least one execution. (Attachment 20,

pp. 1503, 1505, 1506).

         198.   The drug procurer (and/or Defendants) sought instead to obtain

enough pentobarbital for ten executions (100 grams). (Attachment 19, pp. 1493,

1496, 1497).

         199.   Counsel for Defendants conceded before the Tennessee Supreme Court

that Tennessee’s death row inmates were not at fault for manufacturer-imposed

distribution restrictions on pentobarbital. In other words, they had not hindered

Defendants’ acquisition of execution drugs. Abdur’Rahman, No. M2018-01385-SC-

RDO-CV, oral argument (Tenn. Oct. 3, 2018).




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      200.   Only 20 sources of 100 sources contacted by the drug procurer were

“unwilling to supply Pentobarbital if it was to be used in lethal injection.”

(Attachment 19, p. 1477).

      201.   Midazolam, vecuronium bromide, and potassium chloride are each

subject to the same manufacturer-imposed restrictions as pentobarbital.

(Attachment 21, pp. 1309-10, Parker Testimony (excerpt); Attachment 22, pp. 203-

04, 245, Parker Deposition (excerpt)).

      202.   Defendants have obtained drugs that are subject to manufacturer-

imposed restrictions. (Attachment 19, p. 1310; Attachment 23, pp. 1640-41, Inglis

Testimony (excerpt)). This raises concerns about the quality of the drugs sourced.

As drug manufactures have noted, “[t]he use of the medicines for lethal injections

creates a public-health risk by undermining the safety and supply of lifesaving

medicines. Improperly procured medicines from unauthorized sellers are at risk of

adulteration of chemical change due to improper handling, for example, the failure

to maintain proper temperature levels during storage and transport.” Amicus curiae

brief, Fresenius Kabi and West-Ward, McKesson v. Arkansas (2017).

      203.   Defendants obtained quantities of manufactured midazolam on

October 26, 2017, November 1, 2017, November 27, 2017, December 14, 2017 and

December 28, 2017. (Attachment 24, Invoices for Lethal Injection Drugs).

      204.   Defendants obtained quantities of vecuronium bromide on October 26,

2017, November 1, 2017, November 27, 2017, December 14, 2017 and December 28,

2017. Defendants obtained these quantities after Defendants’ Direct Source



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represented that vecuronium bromide was not available. (Attachment 24;

Attachment 25, Emails from the Drug Procurer).

      205.      Defendants obtained quantities of potassium chloride on October 26,

2017 and December 28, 2017. (Attachment 24).

      206.      Defendants ignored a manufacturer’s request to return midazolam

obtained in violation of distribution controls, and Defendants kept the midazolam.

(Attachment 21, pp. 1309-10; Attachment 22, p. 243).

      207.      Pentobarbital is manufactured in the United States for human and

animal use. (Attachment 5, ¶19).

      208.      The drug procurer learned how to obtain pentobarbital through a

veterinarian. (Attachment 19, pp. 1489-90).

      209.      The drug procurer has actual knowledge that pentobarbital

(Nembutal) is widely available in the United States and Europe. (Attachment 20,

pp. 1513-14).

      210.      Pentobarbital is available from Mexico. (Attachment 5, ¶19).

      211.      Pentobarbital is popular in the assisted suicide movement and can be

purchased on-line in powder, injectable and pill form. (Attachment 5, ¶19).

      212.      For example, one online seller in the United States will supply 20

grams of pentobarbital powder for $500. (Attachment 5, ¶20).

      213.      Plaintiff King has been denied access to the drug procurer.




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       214.   TDOC General Counsel concedes that certain companies specialize in

supplying pharmaceuticals to departments of correction. (Attachment 26, p. 169,

Inglis Deposition (excerpt)).

       215.   For example, one company—Clinical Solutions Pharmacy—is located

in Franklin, Tennessee. http://clinicalsolutionspharmacy.com/. Another company,

IHS Pharmacy, is located in Alabama and conducts business with correctional

facilities in Tennessee. http://ihspharmacy.com/.

       216.   Companies which specialize in supplying pharmaceuticals to

departments of correction are sources of midazolam. (Attachment 5, ¶23).

       217.   Defendants have actual knowledge that the identity of any person or

entity supplying drugs used for execution in Tennessee is confidential under state

law.

       218.   A Food and Drug Administration qualified outsourcing facility that

produces high-risk compounded sterile drug products is not required to have an

individual patient prescription but must adhere to federal GMP guidelines.

       219.   Pentobarbital can be obtained through a prescription from a physician

licensed to prescribe schedule 2 drugs. (Attachment 5, ¶17).

       220.   Defendants have a physician willing to write a prescription for

execution drugs. (Attachment 26, p. 138, Inglis Deposition (excerpt)).

       221.   A prescription for pentobarbital can be filled by any pharmacy with a

DEA license to do so. If a pharmacy does not have pentobarbital in stock it could

take 1-2 days to obtain it. (Attachment 5, ¶17).



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      222.   Defendants have a pharmacy and pharmacist in their employment.

(Attachment 21, p. 1314).

      223.   When a prescription for drugs is submitted to a pharmacy it is not

common for a pharmacy to inquire about its use. (Attachment 5, ¶18).

      224.   Pentobarbital is commonly used to treat seizure disorders and for use

in an anesthetic cocktail. (Attachment 5, ¶16).

      225.   A supplier of an Active Pharmaceutical Ingredient (API) for a drug

does not normally inquire about the purpose for the drug being compounded.

(Attachment 5, ¶18).

      226.   Defendants have two valid contracts requiring two different drug

sources to provide drugs for executions. (Attachment 27, Contracts with

Compounding Pharmacies).

      227.   A corrections officer with the Missouri Department of Corrections

purchased pentobarbital with cash and drove it across state lines for use in lethal

injection executions. (Attachment 5, ¶21).

      228.   A Texas public records request revealed the name of a compounding

pharmacy that sold pentobarbital sodium for lethal injection executions.

(Attachment 5, ¶22).

      229.   Defendants have not conducted an ordinary, diligent search for

pentobarbital (Nembutal).




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      230.     Upon information and belief, Defendants possess or have within their

control, or can obtain, the pentobarbital to carry out executions under this

Alternative.

      231.     As part of this Alternative, that Defendants must employ a wedge-

shaped cushion of sufficient height to prevent obstruction, like the one used in Ohio,

to prop the inmate up at an angle during the execution.

      232.     The use of a wedge-shaped cushion to prop him up at an angle will

significantly reduce the substantial risk of obstruction. If an inmate is supine on the

gurney there is a substantial risk that the soft tissues in the back of the throat will

collapse into the airway when they lose muscle tension after injection of the drugs.

      233.     Using a wedge-shaped cushion is an available and feasible alternative

to obstruction and air hunger, because Defendants possess or have within their

control, or could obtain with ordinary effort, a wedge-shaped cushion.

      234.     Death caused by a lethal dose of pentobarbital when they are propped

up with a wedge cushion will not involve any of the unnecessarily severe pain and

suffering caused by obstruction and air hunger. In other words, using a wedge-

shaped cushion for executions will significantly reduce a substantial risk of serious

and unnecessary pain.

      235.     As part of this Alternative, Defendants must inject the lethal drug

bedside rather than from the Lethal Injection Executioner’s Room through several

feet of IV tubing filled with saline solution.




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      236.   Bedside injection will protect Plaintiff against receiving diluted

execution drug(s), thereby ensuring the proper concentration and potency and the

most rapid arm-brain circulation of the drug.

      237.   Any reduction in time of death is a significant reduction of the

substantial risk of a lingering death under the one-drug pentobarbital protocol.

      238.   Bedside injection will aid in the detection of, and will significantly

reduce the substantial risk of, pain from infiltration or a dislodged catheter caused

by the bolus doses of drugs required under the one-drug pentobarbital protocol.

      239.   This portion of this Alternative is feasible and readily implemented

because Defendants already establish IV access on inmates in the Execution

Chamber at bedside.

      240.   Inserting and injecting a syringe of execution drug directly into a port

in the IV catheter is no more difficult—indeed, is easier—than inserting and

injecting a syringe of execution drug into a port connected to lengthy IV tubing.

      241.   The execution team member implementing this Alternative can

disguise themselves in surgical garb, including masks, to resolve any concerns

about identification.

      242.   In the alternative, the execution team member implementing this

Alternative can conceal themselves behind a portable screen placed at bedside to

resolve any concerns about identification.




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      243.   Also as part of this Alternative, and in the event Defendants use

compounded pentobarbital, Defendants must meet all of the following requirements,

otherwise said compounded drugs shall not be used:

      244.   Defendants must use only those compounded execution drugs that are

chemically and biologically identical to FDA-approved versions of said drugs as

currently or formerly sold in the United States (e.g., Nembutal).

      245.   Defendants must use only those compounded execution drugs that are

properly compounded in strict compliance with all requirements of USP <797>, and

manufactured in strict compliance with all requirements of Current Good

Manufacturing Practice Regulations (“CGMP”) under the Food, Drug, and Cosmetic

Act. (Attachment 5, ¶¶ 8, 10).

      246.   Defendants shall not use compounded execution drugs that are past

their beyond-use date or that are otherwise adulterated. (Attachment 5, ¶¶ 3, 4).

      247.   For any compounded execution drugs that are to be used in an

execution, Defendants and/or the “Direct Source” must provide to Plaintiff, at least

30 days in advance of the execution date:

             a.    written, sworn verification of full compliance with all relevant

      manufacturing (CGMPs) or compounding (USP <797>) standards and

      requirements in the production of said execution drugs (including all

      requirements for matters such as sterile production, labeling, packing,

      shipping, storing, and using drug products as defined under the applicable

      set of standards), with such verification performed by a reputable, disclosed



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      (to the inmate’s counsel), independent third party, and such verification to

      include satisfactory assessment of all testing data and other data generated

      in the manufacturing or compounding process under the relevant standards;

             b.    written, sworn verification of satisfaction of rigorous pre-

      execution analytical testing of the execution drug at a reputable, disclosed (to

      the inmate’s counsel), independent analytical testing laboratory to ensure the

      finished drug product is in full compliance with USP <797> or CGMPs, as

      applicable; and,

             c.    written, sworn verification of having submitted to the federal

      FDA an Investigational New Drug application for the use of the particular

      execution drug in the form and dosage to be used against the inmate, and/or

      provide the inmate with a certified copy of that application.

      248.   Defendants must additionally test the final product and its

components no more than two days before the scheduled execution, testing for

identity, contaminants, bacterial endotoxins, pyrogens, concentration, sterility,

proper pH level, potency, and purity. TDOC General Counsel testified about product

testing of drugs utilized in July 5th Protocol so this requirement should be easily

implemented.

      249.   Several other states, including Virginia and Texas, require testing of

compounded execution drugs for identity and potency.

      250.   Defendants’ contract with a compounding pharmacy requires some

testing of compounded execution drugs. (Attachment 4, pp. 99-104).



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      251.   Defendants must provide that test data to counsel for the inmate

immediately upon receipt.

      252.   If the data generated by that analytical testing is outside the level

acceptable under the applicable USP Monograph and any other authoritative source

of standards for the drug, Defendants shall not proceed with the scheduled

execution for at least 60 days.

      253.   Each of these portions of this Alternative would significantly reduce

the substantial risk of severe pain to which Plaintiff is subjected by the use of

compounded pentobarbital, by ensuring that the drug used for execution meets the

same rigorous standards applicable to all drugs to be administered to individuals in

the United States.

      254.   Each of these portions of this Alternative merely require that

Defendants ensure that the controlling statutes, rules, regulations, and standards

are followed even behind the curtain of secrecy that Defendants have obtained

regarding the execution drugs, thereby protecting Plaintiff King against the pain,

suffering, and lingering death that would be caused by using improperly

compounded pentobarbital.

      255.   Defendants’ contract with a compounding pharmacy purports to

require the same. (Attachment 4, pp. 99-104).

      256.   Additionally, these portions of this Alternative are available with

ordinary effort. They simply require that Defendants produce sworn documentation

to confirm that all applicable statutes, rules, regulations, and standards are being



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followed in regards to the execution drugs. Any Tennessee-licensed pharmacy that

is compounding execution drugs is already required by Tennessee law to follow the

requirements in USP <797>, and those requirements include the testing processes

in production, the production of reports and other documentation, rigorous attention

to quality control measures, and other such matters outlined above. If Defendants’

drug source who is compounding follows the law, then it should be a simple matter

for Defendants to produce to the inmate such sworn verification.

      257.   Upon information and belief, Defendants’ drug source is located

outside the state of Tennessee. Plaintiff King alleges that the law of the state where

the drug source is located also requires compliance with USP <797>. If Defendants’

drug source who is compounding follows the law, then it should be a simple matter

for Defendants to produce to Plaintiff such sworn verification.

      258.   The law governing IND Applications contains no exception for the use

of drugs in an execution; regardless of whether such an application would be

granted, Defendants can submit the IND Application with ordinary effort in the

same way that myriad others submit such Applications, and producing verification

of submitting that Application is available through ordinary effort as well.

      259.   Also as part of this Alternative, and in the event Defendants use

compounded pentobarbital, Defendants must meet all of the following compliance

requirements, otherwise said compounded drugs shall not be used:

             a.    Defendants must not use execution drugs obtained from a drug

      source who is non-compliant with the full scope of the alternative methods



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    and procedures proffered here, and Defendants must present to the inmate in

    advance of execution, written, sworn verification of full compliance with all

    such alternative methods and procedures.

          b.     Defendants must not use execution drugs obtained from a drug

    source who has been found to be non-compliant with USP <797> standards

    during any state inspection in the last five years.

          c.     Defendants must identify the Direct Source to the inmate’s

    counsel in advance of execution so that counsel can ensure the relevant

    Direct Source has not been so found. Alternatively, if identification

    information is withheld for whatever reason, Defendants must present to the

    inmate’s counsel in advance of execution written, sworn verification that the

    Direct Source in question has not been found to not be in compliance with

    USP <797> standards during any state inspection in the last five years.

          d.     Defendants must not use execution drugs obtained from a drug

    source who the FDA has found in the last five years to be non-compliant with

    CGMP standards. Defendants must identify the Direct Source to the inmate’s

    counsel in advance of execution so that counsel can ensure the relevant

    Direct Source has not been so found. Alternatively, Defendants must present

    to the inmate’s counsel in advance of execution written, sworn verification




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        that the Direct Source has not violated CGMP standards during any FDA or

        state inspection in the last five years.5

        260.   The parts of this Alternative alleged in the preceding sub-paragraphs

will significantly reduce the substantial risk of severe pain caused by compounded

drugs. These alternatives ensure that the compounded drugs used to execute

Plaintiff meet the same rigorous standards applicable to all drugs administered to

individuals in the United States.

        261.   Compliance with such standards significantly reduces the substantial

risk of serious pain caused by compounded drugs which: are not true in identity,

concentration, potency and purity; contain contaminants, bacterial endotoxins

and/or pyrogens; are not sterile; and/or have an improper pH level.

        262.   Each of these portions of this Alternative merely require that

Defendants ensure that the controlling statutes, rules, regulations, and standards

are followed even behind the curtain of secrecy that Defendants have obtained

regarding the execution drugs, thereby protecting Plaintiff against the pain and

suffering that would be caused by using improperly compounded drugs.



5 Even if compounding pharmacies do actually follow USP-NF General Chapter 797
standards, those standards are less stringent, and produce less reliable drugs, than
the FDA Good Manufacturing Practices. Jennifer Gudeman et al., Potential Risks of
Pharmacy Compounding, Drugs in R&D vol. 13, iss. 1, at 4 (Mar. 23, 2013)
(comparing the failure rate of <2% for 3,000 FDA-approved commercial products
tested from 1996 to 2001 to the failure rates ranging from 11% to 34% for compounded
drugs randomly tested by the FDA, Missouri, and Texas). Drugs compounded in
accordance with USP-NF General Chapter 797 have a low standard of sterility
assurance compared to the FDA standard. Id. (“USP <797> does not afford the same
degree of sterility assurance for compounded drugs that GMPs provide for FDA-
approved sterile products”).
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      263.   These compliance requirements are readily available because they

simply require Defendants to obtain verification of their drug source’s compliance

with applicable safety rules and standards. It also simply requires that execution

drugs WILL NOT be used if they are produced by a drug source who has been found

wanting in that regard.

      264.   Upon information and belief, Defendants obtained drugs for Billy Ray

Irick’s August 2018 execution from a drug source that does not have the facilities

required to compound high-risk sterile injectables. (Attachment 29, Redacted

Pharmacy Website Information).

      265.   Defendants obtained a quantity of drugs before Irick’s execution,

utilizing a prescription for Irick, that was sufficient to carry out two executions.

(Attachment 6, Irick prescription).

      266.   Defendants did not prepare 10 grams of midazolam for Irick’s

execution, contrary to the execution protocol. (Attachment 10, pp. 5, 7).

      267.   Plaintiff King is informed and believes that Defendants obtained drugs

for Irick’s August 2018 execution from a drug source that has been disciplined by a

State Board of Pharmacy. (Attachment 30, Redacted Pharmacist and Pharmacy

Discipline Records).

      268.   Disciplinary actions against a pharmacy or pharmacist are cause for

concern regarding the quality, sterility and stability of a compounded sterile drug

product. (Attachment 5, ¶11).




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        269.   Defendants have not disposed of execution drugs in accordance with

the written protocol. (Attachment 41, pp. 981, 984-85, Mays Testimony).

        270.   As part of this Alternative, Defendants shall not obtain drugs from the

drug source utilized for Irick’s August 2018 execution.

II.     Tennessee’s Electrocution Protocol poses a substantial risk of
        unnecessary and severe pain, suffering, and mutilation.

        271.   Tennessee’s electric chair is sure or very likely to inflict a gruesome

and torturous death.

               A.    The background of Tennessee’s electric chair.

        272.   Fred A. Leuchter designed and manufactured the equipment

Tennessee uses to execute prisoners by means of electrocution. (Attachment 31, AP

Article re: Tennessee Electric Chair).

        273.   Almost thirty years ago, Leuchter created and installed the

electrocution equipment at RMSI.

        274.   Leuchter does not have, and never had, an electrical engineering

license from any state.6

        275.   Leuchter’s claimed expertise in scientific matters has been rejected by

trained scientists in the fields in which he claims expertise.7


6 The State of Massachusetts entered into a Consent Decree with him, whereby he
agreed to cease and desist from making such claims.
7 For example, Leuchter claimed that the absence of trace elements of lethal gas on

bricks he stole from the World War II Auschwitz concentration camp constituted
evidence that the Nazi’s did not operate a gas chamber at the death camp. The
scientific community has universally rejected his theory. Indeed, Massachusetts
required that he stop distributing his Holocaust denial report, entitled “An
Engineering Report on the Alleged Execution Gas Chambers at Auschwitz, Birkenau,
and Majdanek.”
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        276.   On or around April 16, 1994, Michael S. Morse tested the electrocution

equipment Leuchter created. Morse opined that Leuchter's equipment did not

deliver an adequate current to carry out an execution and did not have the capacity

to do so. Morse made fourteen specific recommendations for modifications to

Leuchter’s electrocution equipment.

        277.   On or around April 25, 1994, Jay Weichert tested the electrocution

equipment Leuchter created. Weichert opined that Leuchter’s equipment did not

function properly. Weichert made seven specific recommendations for modifications

to Leuchter's electrocution equipment.

        278.   Tennessee made some, but not all, of the suggested modifications.8

        279.   Modifications included: (a) the equipment was modified from 4.5 amps

to 8 amps, with a 15-amp capability, and (b) the timing cycle was adjusted from

originally energizing for two periods of 1 minute each with a pause of 10 or 15

seconds between to 45 seconds on, 15 seconds off, and then 45 seconds on.

(Attachment 33, pp. 3-4, Electric Chair Modification Letters).




8 After Morse and Weichert suggested modifications to Leuchter’s electrocution
equipment, they examined Florida’s electric chair. Weichert concluded that Florida’s
electrocution equipment “looks excellent.” In a subsequent Florida electrocution,
however, the condemned prisoner survived after the executioner shut off the chair’s
power, taking ten deep breaths before dying. Before a medical doctor declared the
prisoner dead, blood poured out from under the sheath covering the prisoner’s face,
and blood on the prisoner’s chest spread to the size of a dinner plate, oozing through
the buckle holes on the chest straps that harnessed him to the electric chair.
(Attachment 32, Allen Lee Davis Execution Photos).
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        280.   The company that had acquired rights to Leuchter’s technology, JVM

Custom Machinery Group, notified Tennessee that those modifications were

“improper and unsound[:]”

        These modifications may result in ‘tissue cooking’ of the executee and
        further, fibrillation of the executees heart resulting in failure to execute
        and a brain dead vegetable at the conclusion of the execution procedure.

              Please be advised the Wiechert modifications void the Leuchter
        guarantee JVM has assumed. In addition it places the State of
        Tennessee at risk in terms of failing to properly execute. in the event of
        the use of said system [sic].

              We bear no legal liability in this matter except to advise you of
        these conditions and the possibility of torture of the inmate if an
        execution is carried out with the modified equipment.

(Attachment 33, pp. 1-2).

        281.   Apparently other modifications were subsequently made to

Tennessee’s electric chair and, in 2007, the voltage of the chair was reduced from

2,640 to 1,750 and the amperage was raised from 5 to 7. (Attachment 31).

        282.   On September 12, 2007, Daryl Holton was electrocuted in Tennessee’s

electric chair.

        283.      On October 8, 2018, Edmund Zagorski elected execution by

electrocution for his execution scheduled for October 11, 2018.

        284.   Defendants had conducted a training under Tennessee’s Electrocution

Protocol on September 27, 2018 and they tested the electric chair on October 10,

2018.

        285.   Had Defendants been capable of performing an execution in the

electric chair on October 11th, Mr. Zagorski would have been dead on that date.

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        286.   Defendants did not execute Mr. Zagorski on October 11th. Instead, the

Governor issued a ten-day reprieve for the stated purpose that Tennessee needed

time to be prepared to use the electric chair.

        287.   Defendants use a Test Load Box when they test the electrocution

equipment.

        288.   The purpose of the Test Load Box is to simulate a prisoner’s body.

        289.   Defendants place the Test Load Box in the Electric Chair’s perforated

seat and connect it to the power cable for the head electrode and the leg electrodes.

        290.   After connecting the Test Load Box to the power cable for the head

electrode and the leg electrodes, Defendants activate the Electric Chair and check to

see if the transformer meter reads 1,750 volts and the amperage meter reads 7

amps.

        291.   Ohm’s Law establishes that for the electrocution equipment to

maintain a circuit that delivers a current of 1,750 volts at 7 amps, the circuit must

provide 250 ohms of resistance. (1,750 (volts)/7 (amps)= 250 (ohms)).

        292.   Defendants’ testing procedure establishes only that when the Test

Load Box is used to complete the circuit containing the Electric Chair, the Test

Load Box provides resistance that creates a total circuit resistance of 250 ohms.

        293.   Defendants’ testing procedure fails to establish that the electrocution

equipment will maintain during the electrocution of a human being a circuit that

delivers a current of 1,750 volts at 7 amps to the prisoner because:




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          a.     For testing purposes, Defendants attach a tester lead from the

    Test Load Box directly to the power cable for the head electrode. During an

    execution, however, Defendants: (a) attach the power cable for the head

    electrode to the head piece; (b) put a sponge saturated with salt water on the

    prisoner’s head; and, (c) attach the head piece to the prisoner’s sponge-

    covered head. The interface between the head electrode/sponge and scalp of

    the prisoner’s head presents a region of high electrical resistance

    unaccounted for in Defendants’ testing procedure.

          b.     While the Test Load Box contains constant material and thereby

    reliably provides a constant resistance that creates a total circuit resistance

    of 250 ohms, the electrical resistance of human bodies varies widely. Factors

    affecting an individual’s resistance to an electrical current include, but are

    not limited to: (1) the presence or absence of fatty tissue beneath his skin; (2)

    the distribution and activity of sweat glands; (3) the amount of oil in and on

    his skin; (4) the thickness of his skin; (5) the amount of hair on his body; (6)

    the thickness of his skull; (7) the location and size of any cranial skull

    fissures; and, (8) regional blood flow at the time of electrocution.

          c.     As a consequence of these factors, a prisoner’s body may create a

    circuit resistance significantly higher or lower than the 250-ohm circuit

    resistance the Test Load Box creates and thereby significantly alter the

    voltage and/or current that Defendants apply to him.




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             d.     Defendants make no effort to investigate the resistance

      individual prisoners present to electrical current.

      294.   While conditions remain constant within the Test Load Box

throughout the testing procedure, during an electrocution execution the resistance

of the prisoner’s body changes dramatically as his skin heats, perforates, vaporizes,

burns, and chars and the saline solution in the sponges between the prisoner’s body

and the electrodes heats and vaporizes.

      295.   Defendants’ testing procedure fails to ensure that the electrocution

equipment will minimize the pain it inflicts on a prisoner.

             a.     Individual prisoners have different thresholds for the sensation

      of electrical current;

             b.     Individual prisoners have different thresholds for the perception

      of pain; Individual prisoners experience different physiological effects to

      electrical current;

             c.     Individual prisoners will experience significant differences in

      the amount of electrical current required, and the amount of time for

      application of that current, to cause unconsciousness.

             B.     How Tennessee’s Electrocution Protocol Operates.

      296.   On November 1, 2018, the State of Tennessee executed Edmond

Zagorski by electrocution. Zagorski was strapped tightly to the electric chair.

Restraints crisscrossed his torso, with a strap across his lap and each wrist. His feet

did not reach the floor. Prison staff placed a very large wet sponge and a head piece

on top of Mr. Zagorski’s head. He grimaced each time saline solution ran down his
                                          58

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face. Then his face and neck were completely covered with a large black shroud. As

electricity was applied, Mr. Zagorski stiffened, his elbows raised off the arms of the

chair, and he clenched his hands into fists. His arms turned red. His body made a

sharp jolt upwards, lifting off the seat and thrusting up against the restraints.

When the electricity stopped he slumped down. His hands remained clenched except

for his pinkie fingers which appeared dislocated or broken. His stomach rose and

fell during the pause. With the second application of electricity, Mr. Zagorski’s body

thrust upward as he rose even higher. Although restrained, he appeared to be

standing up extremely straight with every muscle in his body tensed.

      297.   Defendants maintain the electrocution equipment in an Execution

Chamber and Executioner’s Room located within the RMSI.

      298.   The Execution Chamber contains the Electric Chair.

      299.   The component parts of the Electric Chair include: (a) a head piece (a

leather cranial cap lined with copper mesh inside—hereafter sometimes referred to

as the head electrode); (b) two leg electrodes; (c) a junction box located behind a

back leg of the Electric Chair; (d) a cable that runs from the junction box to the head

electrode; (e) two cables that run from the junction box to the leg electrodes; and, (f)

a removable drip pan underneath a perforated seat.

      300.   The Executioner’s Room adjoins the Execution Chamber. It contains:

(a) an electrical console (the unit the executioner manipulates to carry out an

electrocution); (b) a transformer (the device that transfers electricity to and from the

Electric Chair); (c) an amp meter (a device that measures the number of amps in an



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electrical current); and, (d) a switch for activating an exhaust fan above the Electric

Chair.

         301.   In preparing to activate the Electric Chair, Defendants connect a low

voltage cable from the electrical console to the transformer and a high voltage cable

from the transformer to the Electric Chair’s junction box.

         302.   When activated, the transformer and the Electric Chair create an

open alternating current electrical circuit. Any object that creates a connection

between the head electrode and the leg electrodes closes, and becomes part of, the

electrical circuit.

         303.   When the Electric Chair is activated and operates as intended, the

transformer sends electrical current through the head electrode/sponge and onto the

prisoner’s head. The current exits the prisoner’s body at the leg electrodes and

travels back to the transformer, completing a circuit. The current alternates

between traveling this direction and the opposite direction sixty times per second

(60 HZ).

         304.   The Tennessee Protocol for Execution Procedures for Electrocution

provides that Defendants’ electrocution equipment is designed to deliver to a

prisoner for twenty seconds an alternating current of 1,750 volts at 7 amps, followed

by a pause of fifteen seconds, followed by a fifteen second alternating current of

1,750 volts at 7 amps.

         305.   Under Tennessee’s Electrocution Protocol, the initial twenty-second

application of electrical current will not provide a time long enough for a prisoner to



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die from asphyxiation because electrical current applied during an electrocution

execution will not necessarily stop the prisoner’s heart and the skeletal muscles the

prisoner requires for respiration will relax when the current stops and air will flow

into the prisoner’s lungs.

      306.   During the fifteen-second interval that follows, a prisoner’s heart can

circulate the newly oxygenated blood to the brain and the rest of the prisoner’s

body, keeping him alive, conscious, and sensate for the second application of

electrical current.

      307.   Defendants do not comply with the time requirements of the

Electrocution Protocol. (Attachment 28, Zagorski records).

      308.   Defendants do not maintain records or follow procedures during an

execution that ensures compliance with the Electrocution Protocol.

      309.   Because Tennessee uses an alternating electrical current for

electrocution executions, the prisoner’s extreme pain and suffering will repeat sixty

times per second as the current alternates the direction it follows.

      310.   The prisoner’s perception of time during the electrocution process can

become distorted so that he may perceive each of the sixty per second alternating

cycles of electrical current and electrical trauma lasting dramatically longer than it

would appear to a bystander.

      311.   Because contact with high voltage electrical current causes muscle

tetany, and because face is hidden behind a shroud a prisoner is harnessed tightly




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into the Electric Chair, during an electrocution execution a prisoner is unable to

signal that he is experiencing pain and suffering.

      312.   Because prisoners can remain alive at the conclusion of an

electrocution execution, the Defendants’ protocol provides that a medical doctor

wait five minutes after the executioner shuts off power to the Electric Chair before

the doctor examines a prisoner’s body for signs of life. During this five-minute

period, prisoners who survive the electrocution process die from thermal heating,

i.e., cooking, of their vital organs, and asphyxiation.

      313.   The original designer of Tennessee’s electric chair, Fred Leuchter, is

concerned that the chair will fail because of changes other made to it.

      “What I’m worried about now is Tennessee’s got an electric chair that’s
      going to hurt someone or cause problems. And it’s got my name on it,”
      Leuchter said. “I don’t think it’s going to be humane.”

(Attachment 31).

             C.     Tennessee’s Electrocution Protocol inflicts cruel and
                    unusual punishment.

      314.   There is little debate that electrocution is a barbaric method of

execution.

      315.   Dr. John P. Wikswo, Jr., holds a Ph.D. in Physics from Stanford

University and is the Founding Director of the Vanderbilt Institute for Integrative

Biosystems Research and Education. He has researched judicial electrocution

protocols and electrocution equipment since 1992. (Attachment 34, pp. 2-4, Dr.

Wikswo Reports).




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    316.   Dr. Wikswo states:

           a.    prisoners can remain alive for some period of time during the

    electrocution for various reasons: the heart may not stop immediately when

    the current contacts the body; if the heart does stop, it may start again when

    the current ceases; this fibrillation over time during the electrocution will

    gradually reduce cardiac output until it is insufficient to maintain life; the

    electrical current causes the skeletal muscles required for breathing to

    tetanize (i.e., contract or spasm), such that the prisoner dies of asphyxiation;

    and/or organ damage as a result of thermal heating (i.e., cooking) produces

    death gradually;

           b.    prisoners may remain conscious and sensate for some period of

    time during the electrocution: the skull somewhat protects the brain by

    providing greater resistance than the skin, so that the current will primarily

    travel down the perimeter of the head, down the torso and legs, until it leaves

    through the leg electrodes;

           c.    because prisoners can remain alive, conscious, and sensate

    during at least a portion of the duration of a judicial electrocution event, for

    numerous reasons they can experience excruciating pain and suffering during

    the event: the high-voltage electrical current produces severe burns; the

    current thermally heats (i.e., cooks) the body and internal organs; the current

    directly excites most if not all nerves along its path; the current excites some

    brain neurons causing extreme pain as well as sensations of sound, light,



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      dread, and fear; the current tetanizes all muscles simultaneously; the

      tetanized breathing muscles cause the sensation of suffocating; time

      perception may be altered such that the prisoner experiences each cycle of

      current and/or perceives the electrical trauma as lasting dramatically longer

      than it would appear to a bystander;

             d.    because contact with high voltage electrical current causes

      muscles to malfunction and because Tennessee inmates are harnessed tightly

      onto the electrocution equipment, a prisoner is unable to signal that he is

      experiencing pain and suffering during an electrocution execution;

             e.    because of the unpredictability and variability of each prisoner's

      electrical resistance and that of the connections to his body during an

      electrocution execution, the current delivered to each prisoner will vary

      significantly from the currents delivered to other prisoners, such that the

      time an individual prisoner will remain alive, conscious, and sensate are

      unknown and will vary substantially from prisoner to prisoner;

             f.    because prisoners can remain alive at the end of an electrocution

      execution and the medical doctor waits five minutes before examining the

      body for signs of life, an inmate who survives the electrocution process will

      die from thermal heating (cooking of their vital organs) and asphyxiation

      during this time.

      317.   Regarding Tennessee’s use of Leuchter’s electric chair, Dr. Wikswo

reviewed various records and documents, including an autopsy of Daryl Holton, who



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Tennessee executed by electrocution in 2007, color photographs of Mr. Holton’s body

and other items associated with his execution, and newspaper accounts of Mr.

Holton’s execution. Dr. Wickswo’s expert opinion is that Tennessee’s electric chair

will cause excruciating pain, the likelihood of lingering death, and disfigurement of

the body attendant to death by electrocution.

      318.   In particular, the initial twenty second application of electrical current

will not provide a long enough time for a prisoner to die because (1) it will not

necessarily stop the heart, and (2) when the current stops and the skeletal muscles

needed for respiration relax air will flow into the prisoner’s lungs. During the fifteen

second “disengage period,” a prisoner’s heart can circulate the newly oxygenated

blood to the brain and the rest of the prisoner’s body, keeping him alive, possibly

conscious, and possibly sensate for the second application of electrical current.

      319.   Under Tennessee’s Electrocution Protocol Mr. Holton received severe

thermal burns all over his body. He incurred blunt force injuries and abrasions to

the scalp, forehead, chin, foot, upper arms, and calf, which are consistent with the

witness reports of Mr. Holton jerking against the straps and electrodes after

application of the electric current and the resulting muscle contraction and tetany.

(Attachment 35, Daryl Holton Photographs; Attachment 36, Daryl Holton Autopsy).

      320.   Under Tennessee’s Electrocution Protocol, Mr. Zagorski received

severe thermal burns all over this body. He incurred contusions, abrasions,

blistered and cracked skin, and puncture wounds. (Attachment 43, Zagorski

Photos).



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       321.   Dr. Wikswo concludes to a reasonable degree of scientific certainty that

there is a substantial risk that a prisoner electrocuted using Tennessee’s

Electrocution Protocol and electrocution equipment will remain alive, conscious, and

sensate for some period of time during the electrocution process and, as a result,

will experience for some period of time the excruciating pain and suffering

associated with the phenomena that occur when a high voltage electrical current

contacts a human being. (Attachment 34, p. 7).

III.   Electrocution violates evolving standards of decency.

       322.   In 2001, the Georgia Supreme Court declared electrocution a cruel and

unusual punishment because of the attendant “specter of excruciating pain” and the

“certainty of cooked brains and blistered bodies.” Dawson v. State, 554 S.E.2d 137,

144 (Ga. 2001). The Dawson Court found:

       death by electrocution involves more than the “mere extinguishment of
       life,” and inflicts purposeless physical violence and needless mutilation
       that makes no measurable contribution to accepted goals of punishment.
       Accordingly, we hold that death by electrocution, with its specter of
       excruciating pain and its certainty of cooked brains and blistered bodies,
       violates the prohibition against cruel and unusual punishment.

Id. at 143-44.

       323.   In 2008 the Nebraska Supreme Court declared electrocution a cruel

and unusual punishment, finding that it causes “intolerable pain.” State v. Mata,

745 N.W.2d 229, 278 (Neb. 2008).

       ... Electrocution as a method of executing condemned prisoners is an
       extremely violent method of accomplishing death. It includes some
       burning, smoke, and involves extreme contortion of muscles and tissue
       of almost every part of a person’s body. It includes no effort at all to



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      anesthetize the person into unconsciousness before the mechanisms of
      death are employed.

      ... [T]here is no question that the Nebraska practice of executing
      condemned prisoners exclusively by electrocution is unique, outdated,
      and rejected by virtually all the rest of the world; including practices for
      the euthanasia of nonhuman animals. There is also no question that its
      continued use will result in unnecessary pain, suffering, and torture for
      some, but not all of [the] condemned murderers in this state. Which ones
      or how many will experience this gruesome form of death and suffer
      unnecessarily; and which ones will pass with little conscious suffering
      cannot be known.

Id. at 272 (citation omitted).

      The Mata Court concluded that:

             Besides presenting a substantial risk of unnecessary pain ...
      electrocution is unnecessarily cruel in its purposeless infliction of
      physical violence and mutilation of the prisoner’s body. Electrocution’s
      proven history of burning and charring bodies is inconsistent with both
      the concepts of evolving standards of decency and the dignity of man.
      Other states have recognized that early assumptions about an
      instantaneous and painless death were simply incorrect and that there
      are more humane methods of carrying out the death penalty. Examined
      under modern scientific knowledge, “[electrocution] has proven itself to
      be a dinosaur more befitting of the laboratory of Baron Frankenstein
      than the death chamber” of state prisons.

Id. at 278 (citation omitted).

      324.   Every state that has ever mandated electrocution as a method of

carrying out judicial executions which can be conducted without the express consent

of the condemned inmate has withdrawn that mandate.

      325.   In 1974, electrocution was the sole method of execution in Alabama,

Arkansas, Connecticut, Florida, Georgia, Illinois, Indiana, Kentucky, Louisiana,

Nebraska, New Jersey, New York, Ohio, Pennsylvania, South Carolina, South

Dakota, Tennessee, Texas, and Virginia.

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       326.   In 1977 Texas abandoned electrocution. Tex. Crim. Proc. Code Ann.

§43.14.

       327.   In 1982 New Jersey abandoned electrocution. N.J. Stat. Ann. § 2C:49-

2.

       328.   In 1983 Illinois abandoned electrocution. 725 Ill. Comp. Stat. 5/115-5.

       329.   In 1983 Arkansas abandoned electrocution as an imposed method of

execution. Ark. Code Ann.§ 5-4-617.

       330.   In 1984 South Dakota abandoned electrocution. S.D. Codified Laws §

23-A-27A-32.

       331.   In 1990 Louisiana abandoned electrocution. La. Rev. State. Ann. §

15:569.

       332.   In 1993 Ohio abandoned electrocution as an imposed method of

execution. Ohio Rev. Code Ann. § 2949.22.

       333.   In 1994 New York abandoned electrocution. N.Y. Correct. Law § 658.

       334.   In 1994 Connecticut abandoned electrocution. Conn. Gen. Stat. § 54-

100.

       335.   In 1994 Virginia abandoned electrocution as an imposed method of

execution. Va. Code Ann. §§ 53.1-233, 53.1-234.9

       336.   In 1995 Indiana abandoned electrocution. Ind. Code Ann. § 35-38-6-1.



9 “Electrocution is a violent, torturous and dehumanizing act. Carrying out executions
should not require the state to stoop to the same level as the criminal. The objective
is death, not violent torture.” (Stmt. of Sen. Edgar Robb). Electrocution is “a violent,
torturous and, yes, dehumanizing way of carrying out the mandate of the people.”
(Stmt. of Delegate Phillip Hamilton).
                                          68

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      337.   In 1995 South Carolina abandoned electrocution as an imposed method

of execution. S.C. Code Ann. § 24-3-530.10

      338.   In 1998 Kentucky abandoned electrocution as an imposed method of

execution. Ky. Rev. Stat. Ann. § 431.220.

      339.   In 1998 Pennsylvania abandoned electrocution. Pa. Stat. Ann. Tit. 61,

§ 3004.

      340.   In 1998 Tennessee gave prisoners sentenced to death before January 1,

1999, the ability to avoid electrocution by choosing instead lethal injection, with the

default execution method being electrocution if the prisoner refused to select an

execution method. In 2000, Tennessee abandoned electrocution as the default

execution method for prisoner’s sentenced to death before January 1, 1999. Tenn.

Code Ann. § 40-23-114(a).11 Tennessee, however, retains electrocution as an

imposed method of execution under certain circumstances. Tenn. Code Ann. § 40-23-

114(e).

      341.   In 2000 Florida abandoned electrocution as an imposed method of

execution. Fla. Stat. Ann. §§ 922.10 & 922.105.

      342.   In 2000 Georgia abandoned electrocution as a method for executing

future death sentences, but left electrocution in place as the method for prisoners



10 “The technology that was available for us at the turn of the century in South
Carolina was electricity. . . . It’s kind of cruel and inhumane.” (Stmt. of Rep. Harry
Hallman).
11 “We have reason to be very suspect of the technology of our Electric Chair, the

maintenance of our Electric Chair, modifications that have been performed to the
Electric Chair, as to whether or not this is actually gonna result in a death that would
be quite heinous and cruel.” (Stmt. of Rep. Frank Buck).
                                            69

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sentenced to death before the new legislation took effect. Ga. Code Ann. § 17-10-38.

In 2001, the Georgia Supreme Court declared electrocution a cruel and unusual

punishment. Dawson, 554 S.E.2d at 143-44.

      343.   In 2001 Ohio abandoned electrocution.12

      344.   In 2002 Alabama abandoned electrocution as an imposed method of

execution. Ala. Code § 15-18-82.13

      345.   In 2008 the Nebraska Supreme Court declared electrocution a cruel

and unusual punishment. Mata, 745 N.W.2d at 278.

      346.   The federal government does not authorize electrocution as a method

for carrying out a federal death sentence.

      347.   No other nation in the world executes persons by means of

electrocution.

      348.   Defendants should be preliminarily, and then permanently, enjoined

from carrying out Plaintiff King’s execution by electrocution.

                                 Count Three
 Tennessee’s July 5, 2018 lethal injection protocol violates the Eighth and
  Fourteenth Amendments under Wilkerson v. State of Utah, 99 U.S. 130
(1878), Baze v. Rees, 553 U.S. 35 (2008); Glossip v. Gross, __ U.S. __, 135 S. Ct.
                                  2726 (2015).

      349.       Execution under the July 5th Protocol violates the Eighth and

Fourteenth Amendments because it creates a constitutionally-intolerable risk of

unnecessary pain and suffering and contravenes evolving standards of decency.


12 “Electrocution is no longer a human way of putting condemned prisoners to
death.” (Stmt. of Rep. Jim Trakas)
13 Electrocution is a “horrible way for us to put a person to death.” (Stmt. of Rep.

Thomas Jackson).
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     I.   Feasible and readily implemented alternative methods of execution
          that significantly reduce the substantial risk of severe pain and
          suffering under the July 5th Protocol.

          350.   There exists one or more feasible and readily-available alternative

methods of execution which substantially reduce the constitutionally-unacceptable

risk of inflicting unnecessary and serious pain created by the July 5th Protocol to

carry out Plaintiff King’s execution.14

          351.   Such alternatives include: (a) execution by means of a single bullet to

the head; (b) execution by means of a firing squad; (c) execution by means of the oral

administration of midazolam, digoxin, morphine sulfate, and propranolol; (d)

execution by means of a two-drug lethal injection protocol removing vecuronium

bromide from the July 5th Protocol; and, (e) execution by means of the one-drug

pentobarbital-based lethal injection protocol currently being used by the State of

Texas.

                 A.    A single bullet to the back of the head.

          352.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the firearms necessary to carry out an execution by

a single bullet to the head as alleged in this Alternative.

          353.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the ammunition necessary to carry out an execution

by a single bullet to the head as alleged in this Alternative.




14In naming these alternatives, Plaintiff King does not waive any potential claims
that his rights could be violated by maladministration of the alternatives.
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      354.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, the personnel necessary to carry out an execution by

a single bullet to the head as alleged in this Alternative.

      355.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, persons who regularly train with firearms at the Big

Buck Shooting Range located at RMSI.

      356.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, trained professional marksmen to carry out the

execution.

      357.   The use of trained and experienced professionals and the contemplated

protocol, which involves the use of a single bullet to the back of the head in close

range, could reduce any error rate in firing-squad executions.

      358.   Although Tennessee has not yet developed protocols for carrying out an

execution by a single bullet to the back of the head, model procedures are readily

available and implementable. Taiwan’s execution protocol is instructive. Taiwan

follows a simple procedure: executions are carried out by shooting a handgun or

assault rifle aimed at the brain stem under the ear. The prisoner lies face down on a

mattress on the floor and is shot from behind at close range. Since 2010, Taiwan has

carried out 34 executions by shooting and has had no known incidences of the

execution going awry. “Death Penalty Database: Taiwan,” Death Penalty

Worldwide.




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      359.   Upon information and belief, this manner and method of execution is

feasible and readily implemented under Tenn. Code Ann. § 40-23-114(d) because it

constitutes “any constitutional method of execution.”

      360.   Upon information and belief, this manner and method of execution is

feasible and readily implemented because the Big Buck Shooting Range is located

on the grounds of RMSI and can easily accommodate what little equipment is

required for an execution by a single bullet. See Attachment 15, § II, ¶ 12(c).

      361.    Upon information and belief, execution by this manner and method

damages the brain stem, shutting down breathing and cardiac activity near

instantly.

      362.   A single bullet to the back of the head significantly reduces a

substantial risk of unnecessary and severe pain when compared with execution

under Tennessee’s July 5th Protocol.

      363.    Execution by this manner and method would not cause Plaintiff

King to experience the unnecessary and severe pain and suffering caused by

Tennessee’s July 5th Protocol, including: pulmonary edema from the acidic

midazolam injection, suffocation due to paralysis from vecuronium bromide, and

the internal chemical burn caused by injection of potassium chloride.

      364.    A single bullet to the back of the head bears striking similarities to

the firing squad, which is widely considered to be relatively painless. A study of

executions from 1900 to 2010, for example, concluded that while 7.12% of the

1,054 lethal-injection executions and 1.92% of electrocution executions were



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“botched,” none of the 34 firing-squad executions went awry. A. Sarat, Gruesome

Spectacles: Botched Executions and America’s Death Penalty, 177 (2014). See also

Wood v. Ryan, 759 F.3d 1076, 1103 (9th Cir. 2014) (the firing squad is “foolproof”;

lethal injection is “inherently flawed and ultimately doomed to failure”);

(Attachment 16, p. 781, Denno Article) (A “study of executions from 1976 to 2001

failed to detect any botched firing squad executions, even though other methods,

including lethal injection, were consistently problematic.”) (citing Arif Khan &

Robyn M. Leventhal, Medical Aspects of Capital Punishment Executions, 47 J.

Forensic Sci. 847, 849-50 (2002)). “Just as important, there is some reason to think

that [death by firing squad] is relatively quick and painless.” Glossip, 135 S. Ct. at

2796 (Sotomayor, J., dissenting). That contrasts sharply with death by lethal

injection, which, as shown throughout this Amended Complaint, has caused a

number of prolonged and extraordinarily painful executions in recent years.

      365.     Other states—Mississippi, Oklahoma, and Utah—include execution

by firing squad among their statutory manners of execution. See Miss. Code Ann. §

99-19-51; Okla. Stat. Ann. tit. 22 § 1014; Utah Code Ann. § 77-18-5.5.

        366.   Utah recently executed Ronnie Lee Gardner by firing squad.

 Wilkerson v. Utah, 99 U.S. at 134-35. See Kirk Johnson, Double Murderer

 Executed by Firing Squad in Utah, N.Y. Times, June 19, 2010, available at

 https://www.nytimes.com/2010/06/19/us/19death.html.

      367.     The firing squad is used around the world as a method of

execution. Approximately 28 countries conduct firing-squad executions. See



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“Methods of Execution,” Cornell Center on the Death Penalty Worldwide (June

22, 2012), available at goo.gl/uauqVF. Of the 58 countries retaining capital

punishment, five times as many use firing squads as use lethal injection. See id.;

see also “Death Sentences and Executions: 2015,” Amnesty Int’l Global Report,

available at goo.gl/phBwa0.

      368.    For more than 400 years, the firing squad has been an available

execution method in the United States. The first recorded firing squad execution

took place in 1608, when the colony of Virginia executed George Kendall for

conspiring with Spain. (Attachment 16, p. 778). After the Supreme Court

reinstated the death penalty in 1976 following a nine-year hiatus, see Gregg v.

Georgia, 428 U.S. 153 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.),

the first executed inmate died at the hands of a five-man firing squad just one

year later. Kirk Johnson, In Utah, Execution Evokes Eras Past, N.Y. Times, June

16, 2010, available at goo.gl/p9D9k3. In all, firing squads have executed 144

American inmates. (Attachment 16, p. 778). Thus, the firing squad is clearly a

known execution method.

      369.    Judges have noted the feasibility of the firing squad as an execution

method. See, e.g., Wood, 759 F.3d at 1103 (Kozinski, C.J., dissenting from denial of

rehearing en banc) (noting that “large-caliber rifle bullets fired at close range can

inflict massive damage, causing instant death every time. There are people

employed by the state who can pull the trigger and have the training to aim true.

The weapons and ammunition are bought by the state in massive quantities for



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law enforcement purposes, so it would be impossible to interdict the supply.”).

      370.     States have also noted the feasibility of the firing squad as an

execution method. See, e.g., Bucklew v. Precythe oral argument transcript (where

the attorney for the state of Missouri notes, “Now, if there was a petitioner – some

capital petitioners for example, in Ohio have been pleading things like firing squad

and hanging as alternative methods of execution. Where there is a historical

pedigree to it, this Court has previously affirmed that it is a viable method of

execution that is constitutional. . . . It would certainly have been a stronger case [if

the petitioner had requested the firing squad.)”

      371.     This manner and method of execution is feasible and readily

implemented because the firing squad is a “constitutional method of

execution.” Tenn. Code Ann. § 40-23-114(d).

      372.   If required, the state “legislature could, tomorrow, enact a statute

reinstating the firing squad as an alternative method of execution.” In re Campbell,

874 F.3d 454, 465 (6th Cir. 2017) (discussing Ohio’s execution procedures). In the

same way that Defendants obtained the lethal injection secrecy bill from the

Tennessee General Assembly via ordinary effort, so too could Defendants obtain this

alternative manner of execution.

      373.     In the event the Court finds Alternative A insufficient to satisfy the

alternative-pleading requirement, another alternative method of execution exists

which significantly reduces the substantial risk of pain attendant to Tennessee’s

July 5th Protocol.


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             B.     Firing squad

      374.   The Procedure for Military Executions, Army Regulations No. 633-15

(Apr. 7, 1959) (Attachment 15) provides a feasible and readily implemented

alternative method of execution that significantly reduces the substantial risk of

unnecessary pain and suffering posed by the July 5th Protocol.

      375.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the firearms necessary to carry out an execution by

firing squad as alleged in this Alternative.

      376.   Upon information and belief, Defendants possess or have within their

control, or could readily obtain, the ammunition necessary to carry out an execution

by firing squad as alleged in this Alternative.

      377.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, the personnel necessary to carry out an execution by

firing squad as alleged in this Alternative.

      378.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, persons who regularly train with firearms at the Big

Buck Shooting Range located at RMSI.

      379.   Upon information and belief, Defendants employ or have within their

control, or could readily obtain, trained professional marksmen to carry out the

execution.

      380.   The use of trained and experienced professionals significantly reduces

any error rate in firing-squad executions.



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      381.   The Procedures for Military Executions provide a back-up plan in case

of human error or mistake—the “coup de grace.” (Attachment 15, § II, ¶ 12(c)).

      382.   Upon information and belief, this manner and method of execution is

feasible and readily implemented under Tenn. Code Ann. § 40-23-114(d) because it

constitutes “any constitutional method of execution.”

      383.   The Supreme Court has upheld the firing squad as a method of

execution. Wilkerson v. Utah, 99 U.S. 130, 134-35 (1878).

      384.   Upon information and belief, this manner and method of execution is

feasible and readily implemented because the Big Buck Shooting Range is located

on the grounds of RMSI and can easily accommodate what little equipment is

required for an execution by firing squad. See Attachment 15, § II, ¶ 12(c).

      385.   Upon information and belief, execution by this manner and method

damages the heart and causes a near-immediate drop in blood pressure, including

blood pressure in the brain. This will cause a loss of consciousness rapidly followed

by death.

      386.   Execution by this manner and method would not permit Plaintiff King

to experience any of the unnecessary and severe pain and suffering caused by

pulmonary edema from the acidic midazolam injection, suffocation due to paralysis

from vecuronium bromide, and the internal chemical burn caused by injection of

potassium chloride that results from the July 5th Protocol.

      387.   Eliminating the substantial risk of unnecessary and severe pain and

suffering posed by the July 5th Protocol, by definition, will significantly reduce the



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substantial risk of unnecessary and severe pain to which Plaintiff King is subjected

by the current execution method.

      388.   The firing squad significantly reduces a substantial risk of

unnecessary and severe pain when compared with the midazolam-based three-drug

lethal injection protocol.

      389.   A study of executions from 1900 to 2010, for example, concluded that

while 7.12% of the 1,054 lethal-injection executions and 1.92% of electrocution

executions were “botched,” none of the 34 firing-squad executions went awry. A.

Sarat, Gruesome Spectacles: Botched Executions and America’s Death Penalty, 177

(2014). See also Wood v. Ryan, 759 F.3d 1076, 1103 (9th Cir. 2014) (the firing squad

is “foolproof”; lethal injection is “inherently flawed and ultimately doomed to

failure”); (Attachment 16, p. 781, Denno Article) (A “study of executions from 1976

to 2001 failed to detect any botched firing squad executions, even though other

methods, including lethal injection, were consistently problematic.”) (citing Arif

Khan & Robyn M. Leventhal, Medical Aspects of Capital Punishment Executions, 47

J. Forensic Sci. 847, 849-50 (2002)). “Just as important, there is some reason to

think that [death by firing squad] is relatively quick and painless.” Glossip, 135 S.

Ct. at 2796 (Sotomayor, J., dissenting). That contrasts sharply with death by lethal

injection, which, as shown throughout this Amended Complaint, has caused a

number of prolonged and extraordinarily painful executions in recent years.




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      390.   Other states—Mississippi, Oklahoma, and Utah—include execution by

firing squad among their statutory manners of execution. See Miss. Code Ann. § 99-

19-51; Okla. Stat. Ann. tit. 22 § 1014; Utah Code Ann. § 77-18-5.5.

      391.   Utah recently executed Ronnie Lee Gardner by firing squad. Wilkerson

v. Utah, 99 U.S. at 134-35. See Kirk Johnson, Double Murderer Executed by Firing

Squad in Utah, N.Y. Times, June 19, 2010, available at

https://www.nytimes.com/2010/06/19/us/19death.html.

      392.   The firing squad is used around the world as a method of execution.

Approximately 28 countries conduct firing-squad executions. See “Methods of

Execution,” Cornell Center on the Death Penalty Worldwide (June 22, 2012),

available at goo.gl/uauqVF. Of the 58 countries retaining capital punishment, five

times as many use firing squads as use lethal injection. See id.; see also “Death

Sentences and Executions: 2015,” Amnesty Int’l Global Report, available at

goo.gl/phBwa0.

      393.   For more than 400 years, the firing squad has been an available

execution method in the United States. The first recorded firing squad execution

took place in 1608, when the colony of Virginia executed George Kendall for

conspiring with Spain. (Attachment 16, p. 778, Denno Article). After the Supreme

Court reinstated the death penalty in 1976 following a nine-year hiatus, see Gregg

v. Georgia, 428 U.S. 153 (1976) (joint opinion of Stewart, Powell, and Stevens, JJ.),

the first executed inmate died at the hands of a five-man firing squad just one year

later. Kirk Johnson, In Utah, Execution Evokes Eras Past, N.Y. Times, June 16,



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2010, available at goo.gl/p9D9k3. In all, firing squads have executed 144 American

inmates. (Attachment 16, p. 778). Thus, the firing squad is clearly a known

execution method.

      394.   Judges have noted the feasibility of the firing squad as an execution

method. See, e.g., Wood, 759 F.3d at 1103 (Kozinski, C.J., dissenting from denial of

rehearing en banc) (noting that “large-caliber rifle bullets fired at close range can

inflict massive damage, causing instant death every time. There are people

employed by the state who can pull the trigger and have the training to aim true.

The weapons and ammunition are bought by the state in massive quantities for law

enforcement purposes, so it would be impossible to interdict the supply.”).

      395.     States have also noted the feasibility of the firing squad as an

execution method. See, e.g., Bucklew v. Precythe oral argument transcript (where

the attorney for the state of Missouri notes, “Now, if there was a petitioner – some

capital petitioners for example, in Ohio have been pleading things like firing squad

and hanging as alternative methods of execution. Where there is a historical

pedigree to it, this Court has previously affirmed that it is a viable method of

execution that is constitutional. . . . It would certainly have been a stronger case [if

the petitioner had requested the firing squad].”

      396.   This manner and method of execution is feasible and readily

implemented because the firing squad is a “constitutional method of execution.”

Tenn. Code Ann. § 40-23-114(d).




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         397.   If required, the state “legislature could, tomorrow, enact a statute

reinstating the firing squad as an alternative method of execution.” In re Campbell,

874 F.3d 454, 465 (6th Cir. 2017) (discussing Ohio’s execution procedures). In the

same way that Defendants obtained the lethal injection secrecy bill from the

Tennessee General Assembly via ordinary effort, so too could Defendants obtain

this alternative manner of execution.

         398.   In the event the Court finds Alternatives A and B insufficient to satisfy

the alternative-pleading requirement, another alternative method of execution

exists which significantly reduces the substantial risk of pain attendant to

Tennessee’s July 5th Protocol.

                C.    Euthanasia Oral Cocktail

         399.   Method 1: Oral administration of midazolam, digoxin, morphine

sulfate, and propranolol in sweet liquid such as fruit juice.

         400.   On July 3, 2018, the State of Ohio conceded the existence of another

available method of execution: “Defendants admit that they possess, or have within

their control, or could obtain with ordinary transactional effort, midazolam, digoxin,

morphine sulfate, and propranolol. … [For] Oral Administration.” In Re Ohio

Execution Protocol Litigation, No. 2:11-cv-01016, R.1822, p. 3 (S.D. Ohio July 3,

2018).

         401.   Method 2: Lethal dose (no less than 9000 mg) of secobarbital injected

orally in four ounces of sweet liquid such as fruit juice.




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      402.   Either of these methods of execution are an available, feasible

alternative as demonstrated by use as a method by states which have engaged in

euthanasia under Death with Dignity laws.

      403.   Defendants must inject the lethal drugs orally and from bedside.

      404.   Defendants must inject the lethal drugs mixed with a sweet liquid

such as fruit juice, because of a bitter taste that could initiate a gag reflex.

      405.   Execution by this method of lethal injection using a barbiturate or

opiate will cause death while providing analgesic protection against remaining

sensate following oral injection.

      406.   Eliminating the substantial risk of severe pain posed by vecuronium

bromide and potassium chloride, by definition, significantly reduces the substantial

risk of severe pain caused by the July 5th Protocol.

      407.   As part of Alternative C, Defendants must employ a wedge-shaped

cushion of sufficient height to prevent obstruction, like the one used by the State of

Ohio, to prop the inmate up at an angle during the execution.

      408.   Using that wedge-shaped cushion, by propping the inmate up at an

angle, will significantly reduce the sure or likely risk the inmate will obstruct after

injection of the drugs by helping to ensure that the soft tissues in the back of the

throat will not collapse into the airway when the inmate loses muscle tension after

injection of the drugs. This prevents obstruction that will likely result from lying

supine as currently required by Defendants’ execution protocol.




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       409.   Using a wedge-shaped cushion is available and feasible, because

Defendants possess or have within their control, or could obtain with ordinary

effort, a wedge-shaped cushion similar to the one used by the State of Ohio.

       410.   Accordingly, execution by this manner and method, when orally

injected into an inmate who is propped up with a wedge cushion, does not permit

him to experience any of the severe pain and suffering caused by obstruction, air

hunger, suffocation by paralysis, or the injection and operation of potassium

chloride, as posed by Defendants’ currently selected three-drug method of lethal

injection.

       411.   Using oral injection is available and feasible because Defendants

possess or have within their control, or could obtain with ordinary effort, the

medical supplies necessary to inject the lethal drugs orally rather than through

peripheral IV access.

       412.   Drugs used in this method are sold on the open market and are

available for purchase by Defendants.

       413.   This manner and method of execution is an available, feasible

alternative because Defendants possess or have within their control, or can obtain,

a supply of drugs sufficient to carry out King’s execution using this Alternative

method of lethal injection.

       414.   This manner and method of execution is also available because it can

be carried out under Tennessee law with ordinary effort within the Death Chamber

inside RMSI.



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      415.   In the event the Court finds Alternatives A, B and C insufficient to

satisfy the alternative-pleading requirement, another alternative method of

execution exists which significantly reduces the substantial risk of pain attendant

to Tennessee’s July 5th Protocol.

             D.     Two-Drug Method

      416.   Defendants shall use a two-drug method consisting of two syringes

containing 50 cc of midazolam (5 mg/mL solution), followed by a syringe of 50 cc of

saline, followed by 60 cc of potassium chloride (50 mL of 2 mEq/mL solution) in each

of two syringes for a total of 240 mEq/mL, followed by a syringe of 50 cc of saline.

      417.   This two-drug protocol significantly reduces the substantial risk of

pain caused by the July 5th Protocol because it omits vecuronium bromide.

      418.   Eliminating the substantial risk of severe pain and suffering caused by

suffocation via vecuronium bromide, as used in the July 5th Protocol, by definition,

will significantly reduce the substantial risk of severe pain caused by the July 5th

Protocol.

      419.   Vecuronium bromide is a noxious stimulus.

      420.   Defendants have admitted vecuronium bromide is not necessary to

execute Tennessee inmates. (Attachment 21, pp. 1315-16).

      421.   The pain and suffering caused by vecuronium bromide is not necessary

to execute Tennessee inmates.

      422.   The inclusion of vecuronium bromide in the July 5th Protocol

needlessly increases the risk that an execution will continue even as Tennessee



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inmates are sensate to the severe pain and suffering caused by suffocation because

it will cause paralysis and mask outward indications of such pain.

      423.   The inclusion of vecuronium bromide in the July 5th Protocol

needlessly increases the risk that an execution will continue even as Tennessee

inmates are sensate to the severe pain and suffering caused by potassium chloride

because it will cause paralysis and mask outward indications of such pain.

      424.   Removal of vecuronium bromide from the July 5th Protocol

significantly reduces the substantial risk of unnecessary pain and suffering.

      425.   This alternative is feasible and readily implemented.

      426.   Defendant Parker admitted this alternative is feasible and readily

implemented. (Attachment 21, pp. 1315-16).

      427.   When the Chancery Court Plaintiffs proposed the two-drug alternative

method, counsel for Defendants responded, “It sounds like to me it’s certainly

something we’d do.” (Attachment 42, Sutherland Representation re: Two-Drug

Protocol).

      428.   The United States District Court for the District of Arizona agreed this

proposed alternative meets the second prong of Glossip. First Amendment Coalition

of Arizona, Inc., v. Ryan, 188 F. Supp. 3d 940, 950, 960 (D. Arizona May 18, 2016).

      429.   In the event the Court finds Alternatives A, B, C, and D insufficient to

satisfy the alternative-pleading requirement, another alternative method of

execution exists which significantly reduces the substantial risk of pain attendant

to Tennessee’s July 5th Protocol.



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             E.     One-drug pentobarbital

      430.   Defendants shall use the one-drug, pentobarbital-only method, adopted

by Defendants in 2013, and upheld as constitutional by the state courts.

      431.   This method requires two five-gram doses of pentobarbital.

Pentobarbital is lethal at a blood level of 10 – 169 ug/ml.

      432.   A one-drug pentobarbital method significantly reduces the substantial

risk of pain caused by the July 5th Protocol (midazolam-based three-drug protocol)

because it removes the pain-causing drugs (midazolam, vecuronium bromide and

potassium chloride) from Tennessee’s Execution Protocol.

      433.   Plaintiff King alleges that eliminating the substantial risk of severe

pain posed by vecuronium bromide and potassium chloride, by definition,

significantly reduces the substantial risk of severe pain caused by the July 5th

Protocol.

      434.   Defendants retained a one-drug pentobarbital method as Protocol A in

the January 2018 Execution Protocol.

      435.   Defendants have claimed they are unable to obtain any pentobarbital

to use for executions. But other states remain able to obtain pentobarbital or

another barbiturate.

      436.   This year, Texas has carried-out ten executions using a one-drug

pentobarbital method. (Attachment 17, Exhibit of Texas Executions; Attachment 18,

2018 Executions from Death Penalty Information Center).

      437.   Georgia, also this year, carried-out two executions using a one-drug

pentobarbital protocol. (Attachment 18).
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      438.   Four days ago, on October 29, 2018, South Dakota executed Rodney

Berget using a one-drug pentobarbital protocol. (Attachment 18).

      439.   Defendants delegated the search for pentobarbital to an employee of

the Tennessee Department of Correction (“drug procurer”).

      440.   Defendants have no personal knowledge of the search or results of the

search for pentobarbital that was conducted by the drug procurer.

      441.   Defendants’ knowledge regarding the search for pentobarbital and the

results of the search for pentobarbital conducted by the drug procurer is based on

what they have been told by another person(s).

      442.   The drug procurer conducted a cursory and unnecessarily narrow

search for pentobarbital.

      443.   In 2017, at least ten sources were willing to sell pentobarbital to the

drug procurer. (Attachment 19, p. 1477, Documents from the Drug Procurer;

Attachment 20, p. 1505, Handwritten Notes of the Drug Procurer (a source says

“they sell us [TN] the compound”).

      444.   The drug procurer obtained information from one or more sources such

as the cost of pentobarbital per execution, the availability of bulk pricing, the time

pentobarbital will be available and a shipping date.(Attachment 20, pp. 1503, 1506).

      445.   Ten sources contacted by the drug procurer did not have 100 grams of

pentobarbital, but a lesser amount was available. (Attachment 19, p. 1477).




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         446.   The drug procurer (and/or Defendants) sought instead to obtain

enough pentobarbital for ten executions (100 grams). (Attachment 19, pp. 1493,

1496, 1497).

         447.   Counsel for Defendants conceded before the Tennessee Supreme Court

that the Chancery Court Plaintiffs are not at fault for manufacturer-imposed

distribution restrictions on pentobarbital. In other words, they had not hindered

Defendants’ acquisition of execution drugs. Abdur’Rahman, No. M2018-01385-SC-

RDO-CV, oral argument (Tenn. Oct. 3, 2018).

         448.   Only twenty sources contacted by the drug procurer were “unwilling to

supply Pentobarbital if it was to be used in lethal injection.” (Attachment 19, p.

1477).

         449.   Midazolam, vecuronium bromide, and potassium chloride are each

subject to the same manufacturer-imposed restrictions as pentobarbital.

(Attachment 21, pp. 1309-10, Parker Testimony (excerpt); Attachment 22, pp. 203-

04, 245, Parker Deposition (excerpt)).

         450.   Defendants have obtained drugs that are subject to manufacturer-

imposed restrictions. (Attachment 19, p. 1310; Attachment 23, pp. 1640-41, Inglis

Testimony (excerpt)).

         451.   Defendants obtained quantities of midazolam on October 26, 2017,

November 1, 2017, November 27, 2017, December 14, 2017 and December 28, 2017.

(Attachment 24, Invoices for Lethal Injection Drugs).




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      452.      Defendants obtained quantities of vecuronium bromide on October 26,

2017, November 1, 2017, November 27, 2017, December 14, 2017 and December 28,

2017. Defendants obtained these quantities after Defendants’ Direct Source

represented that vecuronium bromide was not available. (Attachment 24;

Attachment 25, Emails from the Drug Procurer).

      453.      Defendants obtained quantities of potassium chloride on October 26,

2017 and December 28, 2017. (Attachment 24).

      454.      Defendants ignored a manufacturer’s request to return midazolam

obtained in violation of distribution controls, and Defendants kept the midazolam.

(Attachment 21, pp. 1309-10; Attachment 22, p. 243).

      455.      Pentobarbital is manufactured in the United States for human and

animal use. (Attachment 5, ¶19).

      456.      The drug procurer learned how to obtain pentobarbital through a

veterinarian. (Attachment 19, pp. 1489-90).

      457.      The drug procurer has actual knowledge that pentobarbital

(Nembutal) is widely available in the United States and Europe. (Attachment 20,

pp. 1513-14).

      458.      Pentobarbital is available in Mexico. (Attachment 5, ¶19).

      459.      Pentobarbital is popular in the assisted suicide movement and can be

purchased on line in powder, injectable and pill form. (Attachment 5, ¶19).

      460.      For example, one online seller in the United States will supply 20

grams of pentobarbital powder for $500. (Attachment 5, ¶20).



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       461.   Plaintiff King has been denied access to the drug procurer.

       462.   TDOC General Counsel concedes that certain companies specialize in

supplying pharmaceuticals to departments of correction. (Attachment 26, p. 169,

Inglis Deposition (excerpt)).

       463.   For example, one company—Clinical Solutions Pharmacy—is located

in Franklin, Tennessee. http://clinicalsolutionspharmacy.com/. Another company,

IHS Pharmacy, is located in Alabama and conducts business with correctional

facilities in Tennessee. http://ihspharmacy.com/.

       464.   Companies which specialize in supplying pharmaceuticals to

departments of correction are sources of midazolam. (Attachment 5, ¶23).

       465.   Defendants have actual knowledge that the identity of any person or

entity supplying drugs used for execution in Tennessee is confidential under state

law.

       466.   A Food and Drug Administration qualified outsourcing facility that

produces high-risk compounded sterile drug products is not required to have an

individual patient prescription but must adhere to federal GMP guidelines.

       467.   Pentobarbital can be obtained through a prescription from a physician

licensed to prescribe Schedule II drugs. (Attachment 5, ¶17).

       468.   Defendants have a physician willing to write a prescription for

execution drugs. (Attachment 26, p. 138, Inglis Deposition (excerpt)).




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      469.   A prescription for pentobarbital can be filled by any pharmacy with a

DEA license to do so. If a pharmacy does not have pentobarbital in stock it could

take 1-2 days to obtain it. (Attachment 5, ¶17).

      470.   Defendants have a pharmacy and pharmacist in their employment.

(Attachment 21, p. 1314).

      471.   When a prescription for drugs is submitted to a pharmacy it is not

common for a pharmacy to inquire about its use. (Attachment 5, ¶18).

      472.   Pentobarbital is commonly used to treat seizure disorders and for use

in an anesthetic cocktail. (Attachment 5, ¶16).

      473.   A supplier of an Active Pharmaceutical Ingredient (API) for a drug

does not normally inquire about the purpose for the drug being compounded.

(Attachment 5, ¶18).

      474.   Defendants have two valid contracts requiring two different drug

sources to provide drugs for executions. (Attachment 27, Contracts with

Compounding Pharmacies).

      475.   A corrections officer with the Missouri Department of Corrections

purchased pentobarbital with cash and drove it across state lines for use in lethal

injection executions. (Attachment 5, ¶21).

      476.   A Texas public records requires revealed the name of a compounding

pharmacy that sold pentobarbital sodium for lethal injection executions.

(Attachment 5, ¶22).




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      477.     Defendants have not conducted an ordinary, diligent search for

pentobarbital (Nembutal).

      478.     Upon information and belief, Defendants possess or have within their

control, or can obtain, the pentobarbital to carry out executions under this

Alternative.

      479.     As part of this Alternative, that Defendants must employ a wedge-

shaped cushion of sufficient height to prevent obstruction, like the one used in Ohio,

to prop the inmate up at an angle during the execution.

      480.     The use of a wedge-shaped cushion to prop him up at an angle will

significantly reduce the substantial risk of obstruction. If an inmate is supine on the

gurney there is a substantial risk that the soft tissues in the back of the throat will

collapse into the airway when they lose muscle tension after injection of the drugs.

      481.     Using a wedge-shaped cushion is an available and feasible alternative

to obstruction and air hunger, because Defendants possess or have within their

control, or could obtain with ordinary effort, a wedge-shaped cushion.

      482.     Death caused by a lethal dose of pentobarbital when they are propped

up with a wedge cushion will not involve any of the unnecessarily severe pain and

suffering caused by obstruction and air hunger. In other words, using a wedge-

shaped cushion for Plaintiff King’s execution will significantly reduce a substantial

risk of serious and unnecessary pain.




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      483.   As part of this Alternative, Defendants must inject the lethal drug

bedside rather than from the Lethal Injection Executioner’s Room through several

feet of IV tubing filled with saline solution.

      484.   Bedside injection will protect the inmate against receiving diluted

execution drug(s), thereby ensuring the proper concentration and potency and the

most rapid arm-brain circulation of the drug.

      485.   Any reduction in time of death is a significant reduction of the

substantial risk of a lingering death under the one-drug pentobarbital protocol.

      486.   Bedside injection will aid in the detection of, and will significantly

reduce the substantial risk of, pain from infiltration or a dislodged catheter caused

by the bolus doses of drugs required under the one-drug pentobarbital protocol.

      487.   This portion of this Alternative is feasible and readily implemented

because Defendants already establish IV access on inmates in the Execution

Chamber at bedside.

      488.   Inserting and injecting a syringe of execution drug directly into a port

in the IV catheter is no more difficult—indeed, is easier—than inserting and

injecting a syringe of execution drug into a port connected to lengthy IV tubing.

      489.   The execution team member implementing this alternative can

disguise themselves in surgical garb, including masks, to resolve any concerns

about identification.




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      490.   In the alternative, the execution team member implementing this

alternative can conceal themselves behind a portable screen placed at bedside to

resolve any concerns about identification.

      491.   Also as part of this Alternative, and in the event Defendants use

compounded pentobarbital, Defendants must meet all of the following requirements,

otherwise said compounded drugs shall not be used:

      492.   Defendants must use only those compounded execution drugs that are

chemically and biologically identical to FDA-approved versions of said drugs as

currently or formerly sold in the United States (e.g., Nembutal).

      493.   Defendants must use only those compounded execution drugs that are

properly compounded in strict compliance with all requirements of USP <797>, and

manufactured in strict compliance with all requirements of Current Good

Manufacturing Practice Regulations (“CGMP”) under the Food, Drug, and Cosmetic

Act. (Attachment 5, ¶¶ 8, 10).

      494.   Defendants shall not use compounded execution drugs that are past

their beyond-use date or that are otherwise adulterated. (Attachment 5, ¶¶ 3, 4).

      495.   For any compounded execution drugs that are to be used in an

inmate’s execution, Defendants and/or the “Direct Source” must provide to the

inmate, at least 30 days in advance of the execution date:

             a.    written, sworn verification of full compliance with all relevant

      manufacturing (CGMPs) or compounding (USP <797>) standards and

      requirements in the production of said execution drugs (including all



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      requirements for matters such as sterile production, labeling, packing,

      shipping, storing, and using drug products as defined under the applicable

      set of standards), with such verification performed by a reputable, disclosed

      (to the inmate’s counsel), independent third party, and such verification to

      include satisfactory assessment of all testing data and other data generated

      in the manufacturing or compounding process under the relevant standards;

             b.    written, sworn verification of satisfaction of rigorous pre-

      execution analytical testing of the execution drug at a reputable, disclosed (to

      the inmate’s counsel), independent analytical testing laboratory to ensure the

      finished drug product is in full compliance with USP <797> or CGMPs, as

      applicable; and,

             c.    written, sworn verification of having submitted to the federal

      FDA an Investigational New Drug application for the use of the particular

      execution drug in the form and dosage to be used against the inmate, and/or

      provide the inmate with a certified copy of that application.

      496.   Defendants must additionally test the final product and its

components no more than two days before the scheduled execution, testing for

identity, contaminants, bacterial endotoxins, pyrogens, concentration, sterility,

proper pH level, potency, and purity. TDOC General Counsel testified about product

testing of drugs utilized in July 5th Protocol so this requirement should be easily

implemented.




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      497.   At least one other state, Ohio, requires testing of compounded

execution drugs for identity and potency.

      498.   Defendants must provide that test data to counsel for the inmate

immediately upon receipt. TDOC General Counsel did not commit to this request

but testified she would consider it. Attachment 26, pp.138-39.

      499.   If the data generated by that analytical testing is outside the level

acceptable under the applicable USP Monograph and any other authoritative source

of standards for the drug, Defendants shall not proceed with the scheduled

execution of an inmate for at least 60 days.

      500.   Each of these portions of this Alternative would significantly reduce

the substantial risk of severe pain to which Tennessee inmates are subjected by the

use of compounded pentobarbital, by ensuring that the drug used to execute the

inmates meets the same rigorous standards applicable to all drugs to be

administered to individuals in the United States.

      501.   Each of these portions of this Alternative merely require that

Defendants ensure that the controlling statutes, rules, regulations, and standards

are followed even behind the curtain of secrecy that Defendants have obtained

regarding the execution drugs, thereby protecting Plaintiff King against the pain,

suffering, and lingering death that would be caused by using improperly

compounded pentobarbital.

      502.   Defendants’ contract with a compounding pharmacy purports to

require the same. (Attachment 4, pp. 99-104).



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      503.   Additionally, these portions of this Alternative are available with

ordinary effort. They simply require that Defendants produce sworn documentation

to confirm that all applicable statutes, rules, regulations, and standards are being

followed in regards to the execution drugs. Any Tennessee-licensed pharmacy that

is compounding execution drugs is already required by Tennessee law to follow the

requirements in USP <797>, and those requirements include the testing processes

in production, the production of reports and other documentation, rigorous attention

to quality control measures, and other such matters outlined above. If Defendants’

drug source who is compounding follows the law, then it should be a simple matter

for Defendants to produce to the inmate such sworn verification.

      504.   Upon information and belief, Defendants’ drug source is located

outside the state of Tennessee. Plaintiff King alleges that the law of the state where

the drug source is located also requires compliance with USP <797>. If Defendants’

drug source who is compounding follows the law, then it should be a simple matter

for Defendants to produce to Plaintiff such sworn verification.

      505.   The law governing IND Applications contains no exception for the use

of drugs in an execution; regardless of whether such an application would be

granted, Defendants can submit the IND Application with ordinary effort in the

same way that myriad others submit such Applications, and producing verification

of submitting that Application is available through ordinary effort as well.




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      506.    Also as part of this Alternative, and in the event Defendants use

compounded pentobarbital, Defendants must meet all of the following compliance

requirements, otherwise said compounded drugs shall not be used:

      507.    Defendants must not use execution drugs obtained from a drug source

who is non-compliant with the full scope of the alternative methods and procedures

proffered here, and Defendants must present to the inmate in advance of execution,

written, sworn verification of full compliance with all such alternative methods and

procedures.

      508.    Defendants must not use execution drugs obtained from a drug source

who has been found to be non-compliant with USP <797> standards during any

state inspection in the last five years.

      509.    Defendants must identify the Direct Source to the inmate’s counsel in

advance of execution so that counsel can ensure the relevant Direct Source has not

been so found. Alternatively, if the inmate is denied identification information for

whatever reason, Defendants must present to the inmate’s counsel in advance of

execution written, sworn verification that the Direct Source in question has not

been found to not be in compliance with USP <797> standards during any state

inspection in the last five years.

      510.    Defendants must not use execution drugs obtained from a drug source

who the FDA has found in the last five years to be non-compliant with CGMP

standards. Defendants must identify the Direct Source to the inmate’s counsel in

advance of execution so that counsel can ensure the relevant Direct Source has not



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been so found. Alternatively, Defendants must present to the inmate’s counsel in

advance of execution written, sworn verification that the Direct Source has not

violated CGMP standards during any FDA or state inspection in the last five

years.15

      511.   The parts of this Alternative alleged in the preceding sub-paragraphs

will significantly reduce the substantial risk of severe pain caused by compounded

drugs. These alternatives ensure that the compounded drugs used to execute the

inmates meet the same rigorous standards applicable to all drugs administered to

individuals in the United States.

      512.   Compliance with such standards significantly reduces the substantial

risk of serious pain caused by compounded drugs which: are not true in identity,

concentration, potency and purity; contain contaminants, bacterial endotoxins

and/or pyrogens; are not sterile; and/or have an improper pH level.

      513.   Each of these portions of this Alternative merely require that

Defendants ensure that the controlling statutes, rules, regulations, and standards

are followed even behind the curtain of secrecy that Defendants have obtained



15Even if compounding pharmacies do actually follow USP-NF General Chapter 797
standards, those standards are less stringent, and produce less reliable drugs, than
the FDA Good Manufacturing Practices. Jennifer Gudeman et al., Potential Risks of
Pharmacy Compounding, Drugs in R&D vol. 13, iss. 1, at 4 (Mar. 23, 2013)
(comparing the failure rate of <2% for 3,000 FDA-approved commercial products
tested from 1996 to 2001 to the failure rates ranging from 11% to 34% for compounded
drugs randomly tested by the FDA, Missouri, and Texas). Drugs compounded in
accordance with USP-NF General Chapter 797 have a low standard of sterility
assurance compared to the FDA standard. Id. (“USP <797> does not afford the same
degree of sterility assurance for compounded drugs that GMPs provide for FDA-
approved sterile products”).
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regarding the execution drugs, thereby protecting Tennessee inmates against the

pain and suffering that would be caused by using improperly compounded drugs.

      514.   These compliance requirements are readily available because they

simply require Defendants to obtain verification of their drug source’s compliance

with applicable safety rules and standards. It also simply requires that execution

drugs WILL NOT be used if they are produced by a drug source who has been found

wanting in that regard.

      515.   Upon information and belief, Defendants obtained drugs for Billy Ray

Irick’s August 2018 execution from a drug source that does not have the facilities

required to compound high-risk sterile injectables. (Attachment 29, Redacted

Pharmacy Website Information).

      516.   Plaintiff King is informed and belief that Defendants obtained drugs

for Irick’s August 2018 execution from a drug source that has been disciplined by a

State Board of Pharmacy. (Attachment 30, Redacted Pharmacist and Pharmacy

Discipline Records).

      517.   Disciplinary actions against a pharmacy or pharmacist are cause for

concern regarding the quality, sterility and stability of a compounded sterile drug

product. (Attachment 5, ¶11).

      518.   As part of this Alternative, Defendants shall not obtain drugs from the

drug source utilized for Irick’s August 2018 execution.




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II.    The July 5th Protocol poses a substantial risk of unnecessary and
       severe pain and suffering.

       519.     Even if every step set forth in the July 5th Protocol is followed

perfectly, there is a substantial risk Plaintiff King will experience unnecessary pain

and suffering during their executions which is substantially greater than the pain

and suffering caused by feasible and readily available methods of carrying out their

sentences of death.

       520.     The Chancery Court found: (a) midazolam does not elicit strong

analgesic effects; (b) the inmate being executed may be able to feel pain from the

administration of the second and third drugs; and (c) during midazolam executions

in other states there were signs such as grimaces, clenched fists, furrowed brows,

and moans indicative that the inmates were feeling pain after the midazolam had

been injected. The execution of Billy Ray Irick—the only midazolam-based three-

drug execution in Tennessee—lasted twenty minutes.

       521.     There is a substantial risk the use of midazolam as the initial drug in a

three drug protocol, followed by the use of a paralytic drug such as vecuronium

bromide, followed by the use of potassium chloride, will cause Plaintiff King to

experience unnecessary pain and suffering during their executions which is

substantially greater than the pain and suffering caused by feasible and readily

available methods of carrying out their sentences of death.

       522.     No provision of the July 5th Protocol reduces such risk, more

specifically:




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      523.   The use of a dose of midazolam in excess of the maximum therapeutic

and/or clinically-studied dose of midazolam does not reduce the risk that Plaintiff

King will experience unnecessary pain and suffering during their executions which

is substantially greater than the pain and suffering caused by other feasible and

readily available methods of carrying out their sentences of death.

      524.   Unlike anesthetic drugs, the maximum effect of midazolam is reached

when therapeutic and/or clinically studied doses have been administered. The

administration of midazolam in amounts in excess of therapeutic and/or clinically

studied doses has no effect.

      525.   Midazolam, even at its maximum effect, will not prevent Plaintiff King

from experiencing the pain and suffering caused by the subsequent injections of

vecuronium bromide and potassium chloride required by the July 5th Protocol.

      526.   The putative “assessment of consciousness” contained in the July 5th

Protocol will not determine whether Plaintiff King will experience the pain and

suffering caused by the subsequent injections of vecuronium bromide and potassium

chloride.

      527.   The putative “assessment of consciousness” contained in the July 5th

Protocol will determine no more than whether Plaintiff King will physically respond

in a manner detectable to Defendant Mays to the stimuli utilized during the “test.”

      528.   The putative “assessment of consciousness” contained in the July 5th

Protocol, and all other tests dependent upon a person’s physical response to noxious




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stimuli, are indicative of awareness only when used in conjunction with a drug

capable of rendering a person unconscious.

      529.   Midazolam at any dose is incapable of rendering Plaintiff King

unaware of and insensate to the pain of the second and third execution drugs.

      530.   Therefore, even if Plaintiff does not physically respond in a manner

detectable to Defendant Mays to the stimuli utilized during the “assessment of

consciousness,” they will not be unconscious.

      531.   There is substantial risk that Plaintiff King will experience the pain

and suffering of involuntary paralysis and suffocation caused by vecuronium

bromide, the pain and suffering caused by potassium chloride as it passes through

their veins and the pain and suffering caused by cardiac arrest.

      532.   The pain and suffering of involuntary paralysis and suffocation caused

by vecuronium bromide, the pain and suffering caused by potassium chloride as it

passes through their veins, and the pain and suffering caused by cardiac arrest is

constitutionally unacceptable. Baze v. Rees, 553 U.S. 35, 53 (2008); In Re Ohio

Execution Protocol (Fears v. Morgan), 860 F.3d 881, 886 (6th Cir. 2017), cert. denied

sub nom. Otte v. Morgan, 137 S. Ct. 2238 (2017).

      533.   Vecuronium bromide is not necessary to execute Plaintiff King,

accordingly, the pain and suffering caused by vecuronium bromide is unnecessary.

      534.   Potassium chloride is not necessary to execute Plaintiff King,

accordingly, the pain and suffering caused by potassium chloride is unnecessary.

   A. Midazolam

      535.   Midazolam is not a barbiturate.
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      536.   Midazolam is a benzodiazepine.

      537.   Midazolam is not an anesthetic.

      538.   Midazolam is a sedative. Sedation is a state of calm or sleep.

      539.   Midazolam has no analgesic effects, i.e., it does not stop an individual

from feeling pain.

      540.   Midazolam, by its nature, cannot induce and/or maintain a state where

a person is unaware or insensate to the pain and suffering of involuntary paralysis

and suffocation caused by vecuronium bromide, the pain and suffering caused by

potassium chloride as it passes through their veins, and the pain and suffering

caused by cardiac arrest.

      541.   Midazolam’s inhibitory effect on the central nervous system is limited.

      542.   Midazolam, as a benzodiazepine, affects the central nervous system by

facilitating the activity of GABA receptors, the primary effect of which is to reduce

anxiety.

      543.   Gamma amino-butyric acid (GABA) is a primary neurotransmitter that

inhibits central nervous system activity.

      544.   When inhibitory neurons of the brain release GABA onto other brain

neurons, GABA binds to GABA-specific receptors. This binding causes chloride ion

channels to open on the recipient neurons.

      545.   The influx of chloride ions through the channels causes those neurons

to become more quiescent, to decrease in electrical activity, and to decrease the




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likelihood of neuronal firing, resulting in neuronal inhibition and central nervous

system depression.

      546.   Midazolam, as a benzodiazepine, promotes the binding of GABA to

GABA[A] receptors, which are ion channels with multiple binding sites that can be

opened by GABA.

      547.   Once all GABA receptors are bound, additional midazolam does not

have a pharmacological effect upon the central nervous system. Thus, there is a

“ceiling effect” with midazolam.

      548.   Because of the ceiling effect, 500 mg of midazolam is no more effective

than the minimum dose of midazolam required to bind available GABA receptors.

      549.   There is a substantial risk Plaintiff King will experience unnecessary

pain and suffocation regardless of the quantity of midazolam injected.

      550.   The July 5th Protocol does not include a procedure or instructions to

determine whether Plaintiff King will experience the pain and suffering of

involuntary paralysis and suffocation caused by vecuronium bromide, the pain and

suffering caused by potassium chloride as it passes through their veins, and the

pain and suffering caused by cardiac arrest.

      551.   The absence of such a provision increases the risk that Plaintiff King

will become aware and/or sensate to the pain and suffering of involuntary paralysis

and suffocation caused by vecuronium bromide, the pain and suffering caused by

potassium chloride as it passes through their veins, and the pain and suffering

caused by cardiac arrest.



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      552.   The July 5th Protocol does not provide procedures or instructions for

monitoring Plaintiff King’ awareness of pain.

      553.   The absence of such provisions needlessly increases the risk that

Plaintiff King will experience the pain and suffering of involuntary paralysis and

suffocation caused by vecuronium bromide, the pain and suffering caused by

potassium chloride as it passes through their veins, and the pain and suffering

caused by cardiac arrest.

             B.    Vecuronium bromide

      554.   Vecuronium bromide is the second drug used in the July 5th Protocol.

      555.   Vecuronium bromide is a neuromuscular blocking agent that produces

paralysis, including paralysis of respiratory muscles.

      556.   A neuromuscular blocking agent blocks the receptor sites in muscle

tissue that receive nerve impulses.

      557.   When these sites are blocked, the nerve impulses have no effect on the

muscle tissue, which means that the muscle tissue will no longer contract causing

paralysis.

      558.   A neuromuscular blocking agent has no effect on the central nervous

system, and consequently it has no effect on consciousness or the sensation of pain

and suffering.

      559.   When the diaphragm and other muscles that control breathing are

paralyzed, Plaintiff King will experience the sensation of suffocation without being

able to respond.



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      560.   Plaintiff King will not be able to respond by breathing, by moving, or

by facial or vocal expressions.

      561.   The use of vecuronium bromide under the July 5th Protocol will render

Plaintiff King unable to move.

      562.   The use of vecuronium bromide under the July 5th Protocol will render

Plaintiff King unable to breathe.

      563.   The use of vecuronium bromide will prevent any pain responses from

being observed.

      564.   Midazolam will not prevent Plaintiff King from experiencing the pain

and suffering of suffocation caused by Defendants’ use of vecuronium bromide.

      565.   There is a substantial risk that Plaintiff King will be aware and

sensate after administration of midazolam and trapped in their own bodies by the

paralytic drug as the execution moves forward. This is a chemical entombment akin

to being buried alive.

      566.   When Plaintiff King experience the pain and suffering of suffocation,

their bodies will respond with an immediate and extreme spike in adrenaline and

other stress hormones, yet the full effect of vecuronium bromide will prevent

Plaintiff King from moving or communicating their distress.

      567.   The use of vecuronium bromide is unnecessary.

             C.     Potassium Chloride

      568.   Potassium chloride, the third drug in the July 5th Protocol, is a metal

halide salt composed of potassium and chloride.



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      569.   Under the July 5th Protocol, the intravenous injection of potassium

chloride will cause a searing, burning, sensation in the veins. This searing pain, like

liquid fire, is the chemical equivalent of being burned alive.

      570.   Under the July 5th Protocol, midazolam will not prevent Plaintiff King

from experiencing the searing, burning, sensation in the veins caused by the

intravenous injection of potassium chloride.

      571.   Under the July 5th Protocol, the intravenous injection of potassium

chloride will cause the involuntary cessation of Plaintiff King’s cardiac activity, i.e.,

a heart attack.

      572.   Under the July 5th Protocol, midazolam will not prevent Plaintiff King

from experiencing the pain and suffering of a heart attack caused by potassium

chloride.

      573.   The use of potassium chloride as part of a lethal injection protocol is

unnecessary.

      574.   Death under a midazolam-based three-drug protocol is “dreadful and

grim.” (Attachment 7, p. 23).

      575.   Death under Tennessee’s July 5th Protocol is prolonged compared to

the length of executions in other States using a similar protocol.

      576.   During the execution of Billy Ray Irick, the only execution conducted

under Tennessee’s midazolam-based three-drug protocol, he responded to the severe

pain created by the execution drugs.




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      577.   Defendants should be preliminarily and then permanently enjoined

from carrying out Plaintiff’s execution under a midazolam-based, three-drug

protocol (the July 5th Protocol). (Attachment 4).

      578.   The face of this complaint demonstrates a substantial likelihood of

success on the merits and Defendants should be enjoined from executing Plaintiff

David Miller on December 6, 2018, until he is afforded due process on the issues

presented.

             D.     Allegations related to Defendants’ actual practice under
                    the July 5th Protocol.

      Risk of improper drug delivery

      579.   Improper delivery of the execution drugs presents a risk that is sure or

very likely to cause serious illness, needless suffering, and/or a lingering death.

      580.   Proper peripheral IV access must be maintained to ensure proper

delivery of the drugs in Tennessee’s lethal injection protocol. There is a substantial

risk that Plaintiff King will suffer additional unnecessary and serious pain as

Defendants attempt to achieve IV access on him.

      581.    Plaintiff King will suffer serious harm in the form of severe, needless

physical pain and suffering as Defendants stab him with needles repeatedly and/or

cut open his skin, and that substantial risk is arbitrary and capricious, or it is an

objectively intolerable risk of such harm that Defendants unjustifiably ignore.

      582.    The July 5th Protocol lacks safeguards against improper drug

delivery, including a review of the inmate’s medical history and an assessment of

the inmates’ veins prior to execution.


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      583.   Infiltration of drugs into the subcutaneous area of Plaintiffs’

extremities will be painful.

      584.   Any infiltration of drugs will substantially reduce the intended

effectiveness of the drugs used in Tennessee’s lethal injection protocol. Such

reduction in effectiveness will result in added serious pain and suffering and a

lingering death.

      585.   Improper delivery of the execution drugs presents a risk that is sure or

very likely to reduce the efficacy of the drugs and Plaintiff King will move like a

dying fish, cough, vomit, choke, gulp, sputter and his skin may turn colors.

      586.   Improper delivery of the execution drugs presents a risk that is sure or

very likely to cause serious illness, needless suffering, a spectacle execution, and/or

a lingering death.

      587.   “Pain” is not the only harm that can constitute impermissible cruelty

in a method of execution. The Eighth Amendment also demands that a penalty

accord with “the dignity of man.” Hope v. Pelzer, 536 U.S. 730, 738 (2002) (quoting

Trop v. Dulles, 356 U.S. at 100).

      588.   Plaintiff King will suffer a sure or very likely risk of serious harm in

the form of being the subject of an undignified, spectacle execution or attempted

execution under the July 5th Protocol.

      589.   There is a substantial risk that Defendants will have trouble or be

unable to readily obtain IV access. In turn, this creates a sure or very likely risk

that Plaintiff King will suffer serious harm in the form of being subjected to an



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undignified, spectacle execution, a lingering death and an unwanted, non-

consensual human experimentation during the attempted executions as Defendants

repeatedly stab Plaintiff King with needles and/or cut their skin.

      590.   The July 5th Protocol violates the Eighth Amendment because

Plaintiff King will suffer a sure or very likely risk of severe pain from the risk of

maladministration or arbitrary administration of the protocol and that risk is

arbitrary and capricious, or an objectively intolerable risk of such harm that

Defendants unjustifiably ignore.

      591.   Upon information and belief, the execution team is not trained in the

proper use of compounded drugs.

      592.   Upon information and belief, the execution team is not trained in the

intravenous injection of compounded drugs.

      593.   Upon information and belief, the execution team does not have

substantial experience in the intravenous injection of doses of equal or greater

volume to that called for by the new and unwritten protocol.

      594.   Without training and substantial experience in the intravenous

injection of compounded drugs in doses of equal or greater volume as required by

the new and unwritten protocol, there exists a substantial risk that the intravenous

catheter will not be fully seated in a vein or will be dislodged from the vein during

the course of injection.

      595.   In the event the catheter becomes dislodged or a vein is punctured,

ruptured or missed, a portion of the compounded drugs required by the new



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unwritten protocol will be injected into Plaintiff King’s surrounding tissue and/or

body cavities.

      596.     Compounded midazolam is extremely acidic.

      597.     In the likely event a portion of compounded pentobarbital is injected

into Plaintiff King’s surrounding tissue and/or body cavities, there is a substantial

risk of damage to Plaintiff King’s surrounding tissue and/or body cavities and

severe pain.

      598.     In the likely event a portion of midazolam is injected into Plaintiff

King’s surrounding tissue and/or body cavities, there is a substantial risk that they

will be aware and sensate and suffer unnecessary and serious harm.

      599.     In the likely event a portion of the drugs is injected into Plaintiff

King’s surrounding tissue and/or body cavities, there is a substantial risk that

Plaintiff King will suffer a prolonged period of hypoxia, but will not experience the

irreversible cessation of cardiac and/or brain activity, yet will suffer permanent

impairment to other bodily organs.

      600.     Defendants have failed to promulgate formal practices to respond to

the numerous well-publicized problems and complications associated with

administering the new unwritten protocol. Any practices that may have been

promulgated are not formally part of a written protocol and thus are subject to

arbitrary interpretations and implementation.

      601.     These problems are repetitious and foreseeable.




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      602.   Defendants have acted with deliberate indifference by failing to

properly and adequately enact a written execution protocol with safeguards that are

essential to alleviate constitutional concerns.

      603.   Problems arising from the July 5th Protocol are foreseeable and cannot

be mere innocent misadventures for which no one is liable.

      604.   Defendants intend to go forward with Plaintiff King’s execution using

drugs and procedures that are similar in key respects with the circumstances in

other problematic executions.

      605.   Defendants know or should know of other executions using or

attempting to use peripheral IV access on similarly physically compromised inmates

and similarly skilled/qualified/trained execution team personnel that were unable to

successfully establish and maintain proper peripheral IV access and resulted in

serious harm. For example:

             a.     On February 22, 2018, executioners in Alabama aborted the

      execution of Doyle Hamm after inserting needles multiple times on his left

      and right legs and ankles and attempting central venous access through his

      right groin. For two and a half hours, Mr. Hamm suffered serious physical

      and psychological harm including extensive bleeding and bruising of the

      ankles, feet and groin.

             b.     On November 15, 2017, executioners in Ohio aborted the

      execution of Alva Campbell after assessing his veins for about an hour and

      then stabbing him with needles for 25-30 minutes to find a vein for IV access.



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           c.     On April 24, 2017, executioners in Arkansas struggled for 45

     minutes to place a central line in Jack Jones’ neck before placing it

     elsewhere.

           d.     In 2014, during the execution of Clayton Lockett in Oklahoma,

     executioners labored 51 minutes to find a vein for IV access but the drugs

     saturated surrounding tissue rather than flowing into his bloodstream; his

     execution lasted one hour and forty-seven minutes. Mr. Lockett suffered at

     least 15 needles punctures, hemorrhaging, and contusions on his arms, wrist,

     ankle, foot and groin.

           e.     Ohio in 2011 executed Kenneth Biros after executioners stabbed

     him with needles for about 30 minutes.

           f.     Ohio executioners in 2009 inserted needles into Romell Broom

     for more than two hours as he cried in pain.

           g.     Ohio executioners in 2007 stabbed Christopher Newton for

     nearly two hours attempting to find a usable vein for IV access.

           h.     In 2008, Georgia executed Curtis Osborne after executioners

     struggled for 35 minutes to find a vein.

           i.     Ohio in 2007 executed Christopher Newton after two hours and

     at least ten needle punctures.

           j.     In 2007, Georgia executed John Hightower with a three-drug

     sodium thiopental execution method after Hightower suffered 13 minutes of

     being stabbed with needles as nurses sought to obtain IV access. Fifteen



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     minutes after the drug were administered, Hightower blinked rapidly for

     some time, yawned and heaved his chest.

           k.     In 2006, the execution of Angel Diaz in Florida lasted 34

     minutes during which he grimaced, repeatedly squinted his eyes, lifted his

     chin, turned his head, and coughed. Mr. Diaz suffered a chemical burn on his

     right arm that was 12 by 5 inches and a chemical burn on his left arm that

     was 11 by 7 inches, both with numerous blisters and sloughing off of the skin

     after catheters were pushed through his veins.

           l.     Ohio executioners in 2006 stabbed Joseph Clark with needles for

     more than an hour; Mr. Clark remained aware and sensate after receiving

     thiopental in a collapsed vein and executioners had to find another vein

     before restarting his execution.

           m.     In 2001, Georgia executioners spent 39 minutes searching for a

     vein before sticking a needle into Jose High’s hand. A doctor cut into his chest

     to place a central IV line.

           n.     In 2000, the Texas execution of Claude Jones was delayed by

     about 30 minutes because of difficulties finding a vein in either arm to insert

     the drugs.

           o.     In 2000, Florida had problems executing Bennie Demps by

     lethal injection because the execution team had difficulties finding a suitable

     vein. Before the lethal drugs were administered Mr. Demps stated that he




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      was “butchered” and he was bleeding “profusely.” According to the warden, a

      “surgical procedure” had to be performed to find a suitable vein.

             p.     In 2000, Arkansas executed Christina Riggs after prison

      workers stuck her with needles over 18 minutes trying to find a suitable vein

      in her elbows. Ms. Riggs then agreed to take the needles at her wrists.

             q.     In 1998, Texas executed Joseph Cannon. Mr. Cannon’s vein

      collapsed and the needle came out during his execution causing Cannon to

      shout “it’s come undone.”

             r.     In 1992, Arkansas executioners stabbed Ricky Ray Rector for 55

      minutes before obtaining IV access.

             s.     In 1988, Raymond Landry was executed in Texas after the

      catheter dislodged and flew through the air two minutes after injection of

      drugs into Mr. Landry’s body. Executioners spent 14 minutes inserting it

      again and Mr. Landry was pronounced dead 40 minutes later.

      606.   Defendants’ failure to address the issue of venous access in a written

protocol and through adequate training of the execution team constitutes deliberate

indifference to the substantial risk of harm.

      607.   Defendants also are on notice of the botched executions of Ricky Gray

and William Morva in Virginia that involved compounded midazolam and

compounded potassium chloride. (Attachment 37, News Articles).

      608.   Ricky Gray’s execution was similar to a drowning or a sarin gas attack.

He suffered acute pulmonary edema. Blood found on his lips indicated that blood



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entered Gray’s lungs while he was still breathing. (Attachment 37; Attachment 38,

p. 4 Ricky Gray Autopsy).

      609.   About three minutes after the execution of William Morva began,

observers noted that Mr. Morva appeared to be speaking and made a loud noise that

sounded similar to a hiccup and there were several sharp contractions of his

abdomen. He, too, suffered acute pulmonary edema. There was a moderate amount

of froth in Mr. Morva’s upper airway and an abundant amount of froth in his lung

tissue. (Attachment 37; Attachment 39, p. 4, William Morva Autopsy).

      610.   Because Plaintiff King is aware, or should be aware, of all of these

matters, there is no longer just a substantial or objectively intolerable risk of severe

mental or psychological pain, suffering, terror, and anguish; instead, there is the

actual, current, objectively intolerable presence of severe mental or psychological

pain, suffering, horrific anxiety, terror and anguish.

      611.   Plaintiff King is subject to the psychological pain and suffering of

anticipating a horrific, painful death as alleged in this Complaint, which is different

than the ordinary mental pain from the anticipation of death or even the ordinary

mental pain from anticipation of death by execution performed humanely.

      612.   By their actions, Defendants are deliberately indifferent to and/or

recklessly disregard, in violation of the Eighth Amendment, a sure or very likely

risk of subjecting Plaintiff King to an unwanted, non-consensual human

experimentation, severe, needless physical pain and suffering, severe mental or




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psychological pain, suffering and agony, a lingering death, and/or an undignified,

spectacle execution.

      Risk of obstruction

      613.   The use of midazolam or compounded midazolam under the July 5th

Protocol contains an inherent risk that Plaintiff King will suffer obstruction and air

hunger during the execution.

      614.   The July 5th Protocol lacks safeguards against obstruction, such as a

wedge-shaped cushion that could prop-up Plaintiff King from the usual supine

position on the gurney. The easy availability of this type of safeguard renders

unnecessary any pain resulting from obstruction.

      615.   This unnecessary pain from air hunger will be substantial and will be

superimposed on the serious pain caused by a bolus dose of midazolam, suffocation

induced by vecuronium bromide and burning of the circulatory system caused by

potassium chloride, as herein.

      616.   As a result of obstruction and/or suffocation, it is very likely Plaintiff

King will move like a dying fish, they will cough, vomit, choke, gulp, sputter and

their skin may turn colors.

      617.   There is a substantial risk that Plaintiff King’s execution will result in

a spectacle that fails to comport with basic concepts of the dignity of man.

      Paradoxical effect




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      618.   The use of midazolam or compounded midazolam under the July 5th

Protocol contains an inherent risk that Plaintiff King will experience a paradoxical

effect from the drug.

      619.   Moreover, as an execution dates near, Plaintiff King will experience

increased levels of stress and distress.

      620.   A paradoxical reaction to the execution drug(s) will cause increased

awareness for Plaintiff King and increases the substantial risk that he will

experience the pain caused by the drugs utilized in the July 5th Protocol.

      621.   A paradoxical reaction very likely will cause Plaintiff King to move like

a dying fish, they will cough, vomit, choke, gulp, sputter and their skin may turn

colors. Moreover, as his execution dates near Plaintiff King will experience

increased levels of stress and distress. Plaintiff King may develop or may currently

have additional physical and/or psychological characteristics increasing the sure or

very likely risk of unnecessary and serious harm caused by the July 5th Protocol.

      622.   The July 5th Protocol fails to account for any unique characteristics of

inmates that may affect the efficacy of or the risk of harm caused by the July 5th

Protocol. This increases the substantial risk of harm caused by the July 5th

Protocol.

      623.   Upon information and belief, Defendants have failed to properly

prepare or train the execution team for any of known contingencies presented while

carrying out the execution. For example, Defendant Mays testified he has no




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knowledge about the paradoxical effect. (Attachment 40, pp. 117-18, Mays

Deposition (excerpt)).

      624.      The July 5th Protocol, as applied, presents a substantial risk of

unnecessary and serious pain and suffering to Plaintiff King.

      625.      Defendants’ arbitrary deviations from the written protocol increases

the risk of unnecessary and serious harm.

      Unnecessary restraints

      626.      Upon information and belief, before the execution of Billy Ray Irick

began his hands and fingers were taped tightly to the gurney.

      627.      This practice raises the inmate’s level of anxiety and stress and

increases heart rate and blood pressure thus increasing the level of panic and terror

felt by the inmate and making it harder for midazolam to take effect. In turn, there

is an increased risk that the inmate will physically respond to the execution drugs,

he will experience increased pain and suffering, and there will be a spectacle

execution.

      628.      Taping an inmate’s hands and fingers to the gurney does not have any

beneficial impact on administration of the drugs during the execution.

      629.      Taping the fingers to the gurney constitutes a deviation from the July

5th Protocol.

      630.      The practice of taping the fingers to the gurney and the use of

vecuronium bromide serves one purpose: to mask the effect of the drugs used under

the July 5th Protocol.



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      Failure to prepare a contingency dose of midazolam

      631.   The July 5th Protocol requires preparation of two sets of lethal

injection drugs. (Attachment 4, pp. 39-40). The second set is prepared for use if

there is an interruption of the delivery of first set of drugs, if the inmate responds to

the Warden’s assessment o of consciousness, or if the inmate is not deceased after

administration of the first set of drugs. (Attachment 4, pp. 66, 69).

      632.   For the execution of Billy Ray Irick, Defendants deviated from the July

5th Protocol when they failed to prepare a second dose of midazolam.

      633.   The deviation described in the prior allegation increases the risk that

Plaintiff King will be aware of the severe pain caused by the execution drugs and

will be unnecessarily aware and gratuitously suffer over a longer period of time.

      Lack of proper transport and storage instructions and practices,
      temperature monitoring, and proper storage facilities for the
      execution drugs

      634.   On June 4, 2018, Defendant Mays testified he was unaware of what, if

any, execution drugs are stored at RMSI. He did not know the last time he or

someone else conducted an inventory of execution drugs. (Attachment 40, p. 26).

This constitutes a deviation from Tennessee’s protocol.

      635.   On July 12, 2018, Defendant Mays testified that expired execution

drugs are stored at RMSI; he hadn’t yet disposed of them as required. This

constitutes a deviation from Tennessee’s protocol. (Attachment 41, pp. 981, 984-85,

Mays Testimony).




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         636.   For the execution of Billy Ray Irick, Defendants obtained compounded

midazolam that should have been transported and stored in a frozen state.

         637.   The date that Defendants obtained compounded midazolam, its

Beyond Use Date, the manner in which it was transported, the required

temperature logs, and the manner in which it was stored at RMSI has not been

provided to counsel for Plaintiff King.

         638.   Counsel for Plaintiff King is informed that the information described in

the prior allegation does not exist.

         639.   The failure to maintain records of the lethal injection drugs is another

deviation from the July 5th Protocol. See Attachment 4, p. 38 (accountability of

LICs).

         640.   The July 5th Protocol requires the lethal injection chemicals to be

stored in the armory area at RMSI and in “unmovable heavy gauge steel

containers.” (Attachment 4, p. 37). The July 5th Protocol does not provide for a

freezer to store a frozen lethal injection drug, such as compounded midazolam.

         641.   The July 5th Protocol does not include provisions for the monitoring

and recording of storage temperature.

         642.   The allegations in this section violate provisions of United States

Pharmacopeia (“USP”) chapter 797 and constitute a further deviation from the

written protocol which requires compliance with USP <797>. (Attachment 4, pp. 37,

44-45, 99-104).




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       643.   The failure to properly transport and store drug(s) is likely to affect the

efficacy of the drug(s). (Attachment 5, ¶¶ 5-8).

       644.   Storage conditions affect any BUD, therefore, high-risk compounded

sterile preparations must be kept in carefully prescribed conditions related to the

stability and properties of the specific medicine in question. Stability “depends on

the purity and concentration of specific ingredients, packaging and environmental

exposure and storage (humidity, illumination and temperature), especially for

solutions. Small changes in any one of those variables can cause rapid loss of drug

strength or much shorter than expected shelf-life.” David Newton & Bernard Dunn,

A Primer on USP Chapter 797 “Pharmaceutical Compounding-Sterile Preparations,”

and USP Process for Drug and Practice Standards, available at

http://www.nhia.org/members/documents/usp_797_primer.pdf. For example,

difference by one pH unit in some solutions can decrease stability to less than 50%

of the BUD time assigned. “[T]here can be danger in either assuming correct

compounding or expecting a seemingly small formulation change to produce an

insignificantly small stability change.” Id. Thus, it is imperative to test both

stability and sterility not just shortly after it is compounded but multiple times over

a drug’s shelf life.

       645.   There are demonstrated risks posed by poor storage conditions of

compounded execution drugs. For example, in March 2015, a syringe of

compounded pentobarbital sodium in the Georgia Department of Corrections’

possession appeared “cloudy” just hours prior to the scheduled execution of Kelly



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Gissendaner. The Georgia Department of Corrections sent the drug to a lab for

analysis, and concluded that the likely cause of the precipitation was the

temperature of the drugs, which were kept in poor storage conditions. Mark

Berman, After execution hiatus, Georgia says its lethal injection drugs were kept too

cold, Wash. Post (Apr. 16, 2015).

      646.   The failure to properly transport and store the execution drugs at the

proper temperatures presents a risk that is very likely to affect the drug’s stability

and potency and constitutes a substantial risk of unnecessary and serious pain

and/or spectacle execution.

      The lack of specific drug administration time controls in the
      execution protocol

      647.   A rapid injection rate of midazolam (higher than 0.2 ml/s)

substantially increases the risk of paradoxical reactions to midazolam, even in the

absence of other paradoxical reaction risk factors.

      648.   Defendants’ typical injection rate, and the rate at which they will

inject the execution drugs into Plaintiff King, is greater than 0.2 ml/s. During

Defendants’ practice sessions and the execution of Billy Ray Irick each syringe was

injected within one minute.

      649.   The rapid rate at which Defendants will inject midazolam into Plaintiff

King further elevates the risk that Plaintiff King will suffer a paradoxical reaction

during the execution.

      650.   This risk is very likely when Defendants inject the execution drugs at

too fast a rate. A paradoxical reaction significantly increases the risk that Plaintiff

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King will be aware of severe pain as the execution proceeds, as well as the

accordant risk of severe, horrifying mental pain and suffering.

      651.   There is a sure or very likely risk that Plaintiff King will have a

paradoxical reaction to the execution drug(s), thereby increasing the already

substantial risk that he will be aware of unnecessary physical pain and agony upon

injection of the execution drug(s).

      652.   A paradoxical reaction will cause Plaintiff King to be aware and

sensate to severe pain and result in a spectacle execution.

      653.   Awareness under the new unwritten protocol (compounded high-risk

drugs) is distinct, and in addition to, a generalized awareness or fear that Plaintiff

King is being put to death. Awareness is the specific and acute terror that

accompanies an attempt to draw breath, and a desire to breathe, when one is

unable to; as well as the awareness that one is completely paralyzed and unable to

act, yet still aware and sensate to the suffocation and attendant pain gratuitously

inflicted by vecuronium bromide.

      654.   Awareness under the new unwritten protocol (compounded high-risk

drugs) is distinct, and in addition to, a generalized awareness or fear that Plaintiff

is being put to death. It is the specific and acute burning and searing sensation of

the circulatory system and attendant pain gratuitously inflicted by the potassium

chloride.

      655.   The foregoing risks are substantial when compared to the known,

feasible, readily implemented and available alternative execution method(s)



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identified in this Complaint that significantly reduce the substantial risk of

Plaintiff King suffering the serious harms alleged in this Cause of Action.

                                Count Four
 Execution by the July 5, 2018 lethal injection protocol violates Plaintiff’s
due process rights because it will alter the sentence imposed by the court,
               in violation of the Fourteenth Amendment.

       656.   All prior allegations are incorporated in this cause of action.

       657.   “The only sentence known to the law is the sentence or judgment

entered upon the records of the court[.]” Hill v. Wampler, 298 U.S. 460, 464 (1936).

       658.   On February 6, 1985, the jury issued a verdict of death by

electrocution, and the trial court sentenced King: “upon the further verdict of the

jury fixing your punishment at death, it is, therefore, ordered that you shall be put

to death by electrocution in the mode prescribed by law, and that you shall be

transferred to the custody of the warden at the State Penitentiary at Nashville,

where on the 1st day of August, 1985, your body shall be subjected to shock by a

sufficient current of electricity until you are dead.” (Doc.48-2, pp. 1, 4, 6).

       659.   King’s sentence may only be altered by a judge in a judicial proceeding.

Early v. Murray, 451 F.3d 71, 75 (2d Cir. 2006); see also id. (“Only the judgment of a

court, as expressed through the sentence imposed by a judge, has the power to

constrain a person’s liberty.”).

       660.   King’s sentence may not be increased beyond the sentence originally

imposed by the trial judge.

       661.   Tennessee’s July 8, 2018 Lethal Injection Protocol constitutes an

increase in the punishment imposed on King by the trial court.


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       662.   Utilizing the July 8, 2018 Lethal Injection Protocol for King’s execution

is, therefore, a violation of the Due Process Clause.

       663.   Any increase to King’s sentence by the legislative branch, for example,

Tenn. Code Ann. § 40-23-114, has no effect and is invalid.

       664.   Any increase to King’s sentence by the executive branch, for example,

the July 5th Protocol, has no effect and is invalid.

       665.   Defendants cannot execute King under the July 5th Protocol because

he is sentenced to death by electrocution.

       666.   Defendants should be enjoined from executing King under the July 5th

Protocol.

                                Count Five
Regardless of the constitutionality of Plaintiff King’s sentence, the actual
 infliction of any punishment which causes Plaintiff King’s death violates
the Eighth and Fourteenth Amendments because it is “cruel and unusual”
   under the meaning of the term intended by the drafters of the Eighth
                               Amendment.

       667.   The English Bill of Rights of 1689 provided, “excessive bail ought not

to be required, nor excessive fines imposed, nor cruel and unusual punishments

inflicted.”

       668.   The text of the Eighth Amendment is identical to the English Bill of

Rights of 1689.

       669.   The text of the Eighth Amendment was drawn directly from the

English Bill of Rights of 1689.

       670.   The intent of the drafters of the Eighth Amendment was to adopt the

standard intended by the drafters of the English Bill of Rights of 1689.


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       671.   The prohibition contained in the English Bill of Rights of 1689 was not

limited by its text to any specific punishment existing either at the time of, or prior

to, its adoption.

       672.   The drafters of the English Bill of Rights of 1689 understood that the

word “cruel” is defined in the context of the societal norms existing at the time.

       673.   The drafters of the English Bill of Rights of 1689 understood that, by

using the word “cruel,” its prohibition would change as the societal norms of the

sovereigns/nations recognizing the English Bill of Rights of 1689 changed.

       674.   The drafters of the English Bill of Rights of 1689 understood that the

meaning of the word “unusual” was to be determined in the context of the existing

punishments of the sovereigns/countries which were subject to its language.

       675.   The drafters of the English Bill of Rights of 1689 intended that the

sovereigns/countries whose existing punishments provided context to the word

“unusual” were those sovereigns/countries which were subject to its language.

       676.   The drafters of the English Bill of Rights of 1689 understood that the

punishments inflicted in the sovereigns/countries subject to its language would

change over the passage of time.

       677.   The drafters of the English Bill of Rights of 1689 intended that the

meaning of the word “unusual” in its text would change as the punishments

inflicted in the sovereigns/countries subject to its language changed over the

passage of time.




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      678.   The drafters of the English Bill of Rights of 1689 intended that the

punishments barred by its prohibition against the infliction of cruel and unusual

punishment would change as: (a) the societal norms of the sovereigns/nations

recognizing that right changed; and, (b) the punishments of the sovereigns/countries

which were subject to its language changed.

      679.   The drafters of the Eighth Amendment were aware of, and shared, the

intent of the drafters of the British Bill of Rights of 1689 when they incorporated it

into the Eighth Amendment.

      680.   The drafters of the Eighth Amendment understood that the word

“cruel” is defined in the context of the societal norms existing at the time.

      681.   The drafters of the Eighth Amendment understood that, by using the

word “cruel,” its prohibition would change as the societal norms of the

sovereigns/nations prohibiting the infliction of cruel and unusual punishments

changed.

      682.   The drafters of the Eighth Amendment understood that the meaning of

the word “unusual” was to be determined in the context of the existing punishments

of the sovereigns/countries prohibiting the infliction of cruel and unusual

punishments.

      683.   The drafters of the Eighth Amendment intended that the

sovereigns/countries whose existing punishments provided context to the word

“unusual” were those sovereigns/countries prohibiting the infliction of cruel and

unusual punishments.



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      684.   The drafters of the Eighth Amendment understood that the

punishments inflicted in the sovereigns/countries prohibiting the infliction of cruel

and unusual punishments would change over the passage of time.

      685.   The drafters of the Eighth Amendment intended that the meaning of

the word “unusual” in its text would change as the punishments inflicted in the

sovereigns/countries prohibiting the infliction of cruel and unusual punishments

changed over the passage of time.

      686.   The drafters of the Eighth Amendment intended that the punishments

barred by its prohibition against the infliction of cruel and unusual punishment

would change as: (a) the societal norms of the sovereigns/nations recognizing that

right changed; and, (b) the punishments of the sovereigns/countries which were

subject to its language changed.

      687.   Since the adoption of the English Bill of Rights of 1689, no court has

allowed the infliction of a punishment found to be cruel and unusual punishment

under either the English Bill of Rights of 1689, or the Eighth Amendment, even

where the underlying sentence was legal and/or constitutional.

      688.   Seventeen countries remain subject to the English Bill of Rights of

1689: Antigua and Barbuda, Australia, The Bahamas, Barbados, Belize, Canada,

Grenada, Jamaica, New Zealand, Papua New Guinea, Saint Kitts and Nevis, Saint

Lucia, Saint Vincent and the Grenadines, Solomon Islands, Tuvalu, Ireland and the

United Kingdom.




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         689.   Though not subject to the English Bill of Rights of 1689, the United

States adopted its prohibition against the infliction of cruel and unusual

punishment into the Eighth Amendment.

         690.   No country subject to English Bill of Rights of 1689 has inflicted a

punishment resulting in death in ten or more years.

         691.   This remains true even though a majority, i.e., ten, of those countries

still allow sentences of death to be imposed: Antigua and Barbuda, The Bahamas,

Barbados, Belize, Grenada, Jamaica, Papua New Guinea, Saint Kitts and Nevis,

Saint Lucia, Saint Vincent and the Grenadines.

         692.   Of those ten countries, nine have refused to inflict a punishment

resulting in death, even though they have not vacated the underlying sentences of

death.

         693.   Among the eighteen countries recognizing the prohibition against the

infliction of cruel and unusual punishment as originally set forth in the English Bill

of Rights of 1689, only the United States, has inflicted a punishment resulting in

death in the last ten years.

         694.   In the United States, the infliction of a punishment resulting in death

varies from state to state among its fifty states.

         695.   As among its fifty states, twenty do not allow the imposition of a

sentence of death.

         696.   Six of the twenty states which do not allow the imposition of a sentence

of death have barred its imposition within the past ten years.



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      697.   As among the thirty states which do allow the imposition of a sentence

of death, eight have refused to inflict a punishment resulting in death.

      698.   The infliction of any punishment which results in the death of an

inmate is cruel under the societal norms of the sovereigns/countries whose norms

were intended by the drafters of the Eighth Amendment to define the word “cruel”

in the text of the Eighth Amendment.

      699.   The infliction of any punishment which results in the death of an

inmate is unusual in light of the punishments inflicted in the sovereigns/countries

whose punishments were intended by the drafters of the Eighth Amendment to

define the word “unusual” in the text of the Eighth Amendment.

      700.   Regardless of the legality and/or constitutionality of Plaintiff King’s

sentence of death, the Eighth and Fourteenth Amendments prohibit Defendants

from inflicting that sentence upon Plaintiff King.

                                  Count Six
     The July 5th Protocol deprives Plaintiff King of the opportunity to
   challenge the constitutionality of electrocution because he must elect
    electrocution to avoid the harsher punishment of lethal injection, in
                  violation of the Fourteenth Amendment.

      701.   All prior allegations are incorporated in this cause of action.

      702.   Execution under the lethal injection protocol, which presents a

substantial risk of unnecessary, severe pain will last twenty minutes, whereas,

execution in the electric chair which also presents a substantial risk of unnecessary,

severe pain will last approximately six minutes.

      703.   If Plaintiff King wishes to avoid a harsher punishment than the

maximum punishment at the time of the crimes, the July 5th Protocol requires that
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he affirmatively choose to be executed by electrocution. (Attachment 4, p. 92)

(affidavit concerning method of execution)

      704.   The July 5th Protocol provides that 30 days before a scheduled

execution an inmate will be presented with a form regarding the selection of a

method of execution. (Attachment 4, pp. 13, 92).

      705.   Defendants deviated from this provision of the July 5th Protocol for the

executions of Mr. Irick, Mr. Zagorski and Mr. Miller.

      706.   If the July 5th Protocol is followed, Defendants will present Plaintiff

King with such a form 30 days before his scheduled execution.

      707.   The form provides for the selection of electrocution instead of lethal

injection. Lethal injection is the default method of execution should an inmate

refuse to fill out the form. (Attachment 4, p. 92).

      708.   The jury and judge expressly sentenced Plaintiff King to death by

electrocution, therefore, he must be executed by electrocution.

      709.   Because lethal injection is currently the default method of execution

and Defendants intend to execute Plaintiff King using the July 5th Protocol,

Plaintiff must request electrocution in order to avoid a harsher punishment than

the punishment imposed by the judge.

      710.   If Plaintiff King completes the affidavit required by the July 5th

Protocol and indicates electrocution as the method of execution he may forfeit the

right to challenge the constitutionality of electrocution under the Eighth

Amendment.



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       711.   If Plaintiff King seeks to avoid a harsher punishment he will be denied

the opportunity to be heard on a less-harsh (quantified, at a minimum, by duration)

yet nonetheless unconstitutional method of execution – the method of execution to

which he is expressly sentenced and which Defendants are required to, but will not,

utilize.

       712.   The July 5th Protocol compels Plaintiff King to abandon the Eighth

Amendment right not be tortured and mutilated in the electric chair and the

Fourteenth Amendment requirement that his sentence be carried out as imposed by

the court, by threatening to unlawfully subject him to the prolonged and

excruciating pain of suffocation and internal chemical burns under the July 5th

Protocol.

       713.   The coercion caused by the July 5th Protocol leaves Plaintiff King

without freedom to exercise his constitutional rights.

       714.   Absent such provisions in the protocol Plaintiff King would be

punished in accordance with the punishment imposed at the time of sentencing

(electrocution), and, Plaintiff King would have a right to be heard on the

constitutionality of that punishment.

       715.   Based on the above allegations, the July 5th Protocol constitutes a

violation of the due process guarantee that punishment will be imposed in

accordance with due process of law.

       716.   Accordingly, this aspect of the July 5th Protocol violates the

Fourteenth Amendment.



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                                Count Seven
Tennessee law violates Plaintiff King’s rights to access courts and counsel
by prohibiting the presence of more than one attorney at an execution and
denying that attorney access to a telephone during the execution, contrary
            to the First, Eighth, and Fourteenth Amendments.

      717.   All prior allegations are incorporated in this Count.

      718.   Plaintiff King has a constitutional right to access the courts when he

will be harmed or is harmed in violation of the Constitution and the laws of the

United States and Tennessee.

      719.   Plaintiff King has a statutory right to counsel during an execution. 18

U.S.C. § 3599.

      720.   There is a need to access the court should an execution not proceed

according to the July 5th Protocol or should the July 5th Protocol inflict

unnecessary and serious pain and suffering on an inmate.

      721.   Tennessee law arbitrarily limits Plaintiff King’s access to the courts by

prohibiting more than one defense attorney witness to an execution. Tenn. Code

Ann. § 40-23-116.

      722.   During his deposition, Defendant Parker agreed to provide telephone

access for an inmate’s attorney during the execution process. (Attachment 22, pp.

271-74). After his deposition, that agreement was rescinded.

      723.   Defendant Parker testified that providing defense counsel with

telephone access during an execution would not impede the execution or operations

within RMSI. (Attachment 21, pp. 1116-17).




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      724.   Defense counsel are prohibited from possessing a cell phone or other

communication device within the buildings of RMSI and the witness viewing room

immediately before and during an execution.

      725.   Cell phones are operable inside RMSI and, in particular, the execution

chamber, witness viewing room and capital punishment unit.

      726.   Landline phones are available and/or can be connected to the area

inside or outside the witness viewing room and within the capital punishment unit.

      727.   Plaintiff’s sole defense attorney designee for viewing the execution is

not permitted to have a fellow attorney or support staff on the grounds of RMSI,

including the parking lot.

      728.   If Plaintiff’s sole defense attorney designee needs to communicate with

a court or his office about events occurring during the execution, the attorney must

leave the witness viewing room and capital punishment unit (which requires a

guard to unlock the door). The attorney must walk through two locked sally-ports

and gates, each requiring a guard to open. After five to ten minutes, the attorney

may reach the lobby of the prison and then must exit the administration building,

cross a roadway and run to his or her car to access a cell phone. (Attachment 23, pp.

1649-53).

      729.   Plaintiff requires the assistance of two defense attorneys during the

execution so that, if necessary, one attorney can make immediate contact with the

court while the other attorney can continue to witness the execution events.




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      730.   When asked the reason for denying defense counsel access to a

telephone, TDOC General Counsel responded under oath that TDOC does not want

lawyers to call courts and provide information that might disrupt an execution.

(Attachment 23, p. 1648).

      731.   Should events transpire during the execution that cause and/or prolong

unnecessary and severe harm to Plaintiff, one defense attorney witness will be

unable to meaningfully seek judicial review due to the unreasonable restrictions

Defendants place on defense counsel.

      732.   To provide adequate access to courts, two defense attorney witnesses

must be present to view the execution. A cell phone or landline phone needs to be

available inside or immediately outside of the viewing room. If one of the attorneys

leaves the viewing room to use a phone outside the room, the second attorney must

be allowed to communicate with the first attorney, so that the first attorney can

inform the court of the current events and conditions in the execution chamber.

      733.   On October 29, 2018, and November 15, 2018, Defendants were

enjoined from proceeding with the executions of Mr. Zagorski and Mr. Miller unless

his counsel is “provided with immediate access to a telephone during the time

preceding and during the execution.” Zagorski v. Haslam, No. 3:18-cv-01205,

Memorandum and Order, R.15, p. 9 (M.D. Tenn. Oct. 29, 2018); Miller v. Parker, No.

3:18-cv-01234, Memorandum and Order, R.20, p. 13 (M.D. Tenn. Nov. 15, 2018)

(“Defendants and anyone acting on their behalf are hereby ENJOINED ... from




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proceeding with any Plaintiff’s execution without providing his attorney-witness

with access to a telephone.”).

       734.   Defendants provided defense counsel for Zagorski and Miller access to

a land line during the executions. The telephone was located on a wall inside the

room where counsel viewed the execution.

       735.   Defendants’ failure to provide counsel for King the same phone access

during his execution would constitute, in addition to a First Amendment violation,

an equal protection violation.

                                 Prayer for Relief

       WHEREFORE, Plaintiff King requests that this Court:

       (1) issue a preliminary and permanent injunction, preventing Defendants

from carrying out the Plaintiff King’s execution utilizing Tennessee’s July 5, 2018

midazolam-based three-drug lethal injection protocol;

       (2) issue a preliminary and permanent injunction, preventing Defendants

from carrying out Plaintiff King’s execution utilizing Tennessee’s Electrocution

Protocol;

       (3) issue a preliminary and permanent injunction preventing Defendants

from threatening to execute Plaintiff King by means of the July 5, 2018 protocol in

violation of the Ex Post Facto clause and contrary to the sentence imposed upon

him;

       (4) issue a preliminary and permanent injunction preventing Defendants

from carrying out the Plaintiff King’s execution—in any manner—unless he is



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allowed two defense attorney witnesses with immediate access to a telephone and

each other during the time preceding and during the execution.

                                             Respectfully submitted,

                                             FEDERAL DEFENDER SERVICES
                                             OF EASTERN TENNESSEE, INC.

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                               Certificate of Service

       I hereby certify that on January 25, 2019, this Amended Complaint for
Injunctive Relief was filed electronically via the Court’s electronic filing system
upon the following person. Parties may access this filing through the Court’s
electronic filing system.

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6.    Billy Ray Irick Prescription
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